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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

SHARON BOST, in her individual capacity        *
and as personal representative of the ESTATE   *
OF FATIMA NEAL,                                *       Case No. 1:15-cv-03278-ELH
             Plaintiff,                        *
             v.                                *       Hon. Ellen L. Hollander,
WEXFORD HEALTH SOURCES, et al.,                *       District Judge
             Defendants.                       *
                                                       JURY TRIAL DEMANDED

 *      *      *     *     *     *      *      *   *     *      *     *      *      *   *



                     PLAINTIFF’S MEMORANDUM IN OPPOSITION TO
                    DEFENDANT’S MOTION FOR SUMMARY JUDGMENT


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                                         INTRODUCTION

        On November 4, 2012, after approximately three days in the Wexford-run infirmary of the

Baltimore City Detention Center (“BCDC”), Fatima Neal died from untreated strokes. Wexford’s

own medical records reflect that Ms. Neal was supposed to be released the next day.

        During the non-Monell phase of this case, Wexford vehemently argued—with the support of

two neurology experts—that Fatima Neal died of a sudden, massive stroke on November 4, 2012

that was catastrophic and rendered it impossible for Wexford doctors and nurses to save her. But in

the Monell phase of the case, Wexford has reversed course. It has instead retained a new neurologist

who admits Ms. Neal had suffered her first stroke two to three days before her death, while under

24-hour care in the Wexford infirmary. The overwhelming evidence from other detainees,

Maryland’s death investigators, and Wexford’s own medical records, is that Wexford’s infirmary

medical staff knew Ms. Neal was suffering obvious symptoms of stroke but failed to send her out.

        The question is why Wexford’s doctors and nurses failed to send an obvious stroke patient

to the ER. Plaintiff is the only party in this litigation that offers any explanation: because Wexford

implemented policies and practices that pressured medical staff to avoid costly ER visits. If Ms. Neal

had just survived for one more day, she would have been released from the BCDC, without a hit to

Wexford’s profits, and her care would have been at someone else’s cost. As explained below,

Plaintiff’s explanation is supported by a mountain of evidence that Wexford promulgated express

policies to force huge, across-the-board reductions in ER visits, and that it perpetuated a widespread

practice of delaying and denying ER visits to achieve its goal. By contrast, Wexford offers no

explanation whatsoever for why its medical staff failed to send Ms. Neal to the ER for more than 48

hours after she suffered her first stroke. Yet, Wexford asks this Court to grant summary judgment

on Plaintiff’s Monell claim and preclude a jury from ever considering this evidence.




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        In Plaintiff’s experience, Wexford’s litigation practice is to file summary judgment motions

in every case, regardless of whether the evidence in a particular case supports it. Indeed, during the

individual phase of this case, Wexford filed a summary judgment motion despite a mountain of

evidence that created, at minimum, material disputes of fact. In denying Wexford’s first summary

judgment motion, this Court recognized that nearly every material fact was hotly disputed by the

parties. And it properly held that in such a case, the proper venue to resolve those disputes was not

at summary judgment but at trial, before a jury empowered to resolve factual disputes.

        The evidentiary record in the Monell phase demands the same result. Wexford has filed a

baseless summary judgment motion on Plaintiff’s Monell claims. Like the previous one, its current

motion presents a vastly distorted picture of the evidentiary record. It relies on a cherry-picked set of

facts, deliberately ignoring ample evidence that directly contradicts its claims. Remarkably, Wexford

notes that the parties produced more than 150,000 pages of documents, but attaches just four of

those documents (along with three expert reports) in support of its motion. This highlights the

obvious: Wexford is, once again, asking this Court to ignore almost all of the evidence, including all

facts supporting Plaintiff, and instead accept its facts as true and draw all inferences in its favor. But

Wexford’s invitation makes a mockery of the summary judgment standard. Plaintiff has amassed a

vast quantity and quality of evidence reflecting Wexford’s direct role in Ms. Neal’s death, and a jury

could reasonably find for Plaintiff based on that evidence. Summary judgment must be denied.

                                                 FACTS

I.      Wexford Had a Financial Incentive to Reduce Emergency Room Visits to Increase
        Profits

        When Wexford began performing direct patient care in July 2012, its financial incentives

were simple: the less Wexford spent on emergency room (“ER”) trips and other offsite care, the

more profit it made on the contract, and vice versa. Ex. 48 at 23-24. More specifically, Wexford was

paid a fixed amount per prisoner, multiplied by the average monthly prisoner population. Id.; Ex. 30

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at 36-37. It was then responsible for the vast majority of variable patient care costs. Ex. 48 at 23-24;

Ex. 30 at 25-28. This included 100% of all costs for trips to the ER (and all other offsite care).

Ex. 48 at 23-24; Ex. 30 at 21-22. Wexford was also responsible for 100% of ambulance costs, up to

a cap. Ex. 48 at 23-24; Ex. 30 at 27-28. Thus, if Wexford reduced ER trips and other offsite care, it

saved money. Ex. 48 at 23-24; Ex. 30 at 46-47. This was a change in practice; prior to July 2012,

when Corizon was responsible for direct patient care, the cost of offsite and emergency care was

borne by the State of Maryland. Ex. 15 at 73-74, 128.

        A.      Upon Taking Over Direct Patient Care in July 2012, Wexford Immediately
                Implemented Reckless Policies to Reduce ER Visits and Increase Profits

        Upon taking over the direct patient care contract in July 2012, Wexford made a major

change to the organizational structure used by the prior contractor, Corizon: it combined the

Utilization Management (“UM”) and Continuous Quality Improvement (“CQI”) departments,

putting UM staff in charge and subordinating CQI. Ex. 49 at 7; Ex. 21 at 18, 32-33, 40-41; Ex. 24 at

48-49. The separation of UM and CQI is critical, and Wexford’s decision to have UM subsume CQI

was contrary to accepted practice in the correctional healthcare industry. Ex. 49 at 5-6, 7-8; Ex. 48 at

24; Ex. 21 at 42-44. In effect, Wexford chose cost-cutting over quality. Ex. 49 at 7; Ex. 48 at 24;

Ex. 21 at 32-33, 40-41.

        The impact of the decision to place CQI under UM cannot be overstated. CQI is about

quality of care; a robust CQI program is a necessary component of any healthcare system and

especially a correctional healthcare system. Ex. 49 at 4; Ex. 48 at 24. CQI analyses will uncover

issues that are likely to directly impact patient care, and once issues like these are recognized through

the CQI process, a thorough action plan must be promptly implemented and its effectiveness closely

tracked. Id. at 4-5. Because CQI is ultimately about the quality of care to patients, the failure to have

a robust and healthy CQI process poses an obvious danger to patient health. Id. at 5; Ex. 48 at 24.



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        UM, by contrast, is focused on reducing costs. Ex. 49 at 5; Ex. 48 at 24. The goal is to

decrease medical spending. Ex. 49 at 5. UM commonly develops medical formularies, protocols,

guidelines, and policies, and then monitors adherence to these written standards. Id. UM also

typically requires certain high-cost procedures, tests, or medications to be approved in advance. Id.

Of course, cost savings must not come at the expense of patient care and administrators must be

vigilant to assess the impact of any UM cost-saving initiative on patient care. Id.

        Because CQI and UM are distinct processes with often competing goals, it is critical that

they remain separate and independent. Ex. 49 at 5; 48 at 24. Leadership teams responsible for the

overall healthcare contract must ensure that the UM system does not take priority over the CQI

program so as to ensure that cost considerations do not result in poor patient care. Ex. 49 at 5. The

risks to patient well-being posed by UM taking over CQI is obvious and well known. Id.

        Such risks are particularly obvious in the context of emergency care. It is risky and highly

problematic to apply UM efforts to patients who need to go to the ER because of concern about

possible life-threatening emergencies. Ex. 49 at 6. In the field of correctional healthcare, it is well-

known that there is an obvious danger in trying to contain ER-related costs because any efforts to

control “unnecessary” ER transfers will eventually result in true emergencies not being sent. Id.; Ex.

15 at 151. It is often impossible to know in advance whether a specific medical complaint is truly an

emergency before the ER evaluation is done. Id. Failing to send a patient with an emergency (like

stroke) to the ER can be fatal, and so inevitably some patients will return after ER doctors have

established that stroke can be “ruled out.” Ex. 49 at 6-7. But from a UM-only perspective, it is an

unwanted cost. This is an example of why it is well known in correctional medicine that the UM

priorities must sometimes be rejected in favor of ensuring quality of care and patient safety. Id. at 7-

8; Ex. 21 at 42-44.




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        Wexford, however, did the opposite, expressly putting UM and its cost-cutting priorities

over CQI and its quality-related priorities. Once UM was in charge, Wexford’s decisions related to

ER care changed significantly. Cost considerations (instead of quality of care and access) became

“front and center,” as did efforts to reduce ER visits. Ex. 48 at 24; Ex. 21 at 32-33, 150-151.

        B.      Express UM Policy Requiring Approval Before Sending to the ER

        Effective July 1, 2012, the day Wexford took over direct patient care, Wexford put in place a

new policy called the “Utilization Management Policies and Procedure, Region: Maryland.” Ex. 81 at

WEXDISC 445, 446; Ex. 31 at 57-58. It was a Wexford policy. Compare Ex. 81 at WEXDISC 445

(UM policy, with cover page stating it is “Wexford Health Sources Incorporated” policy), and 446

(“Corporate Authorization” stating, “This Wexford . . . Maryland Manual has been reviewed and

approved by the Corporate Medical Advisory Committee”), with Ex. 84 at WEXDISC 486 (policy

with cover page stating it is policy of Maryland’s “Office of Treatment Services, Office of Inmate

Health Services”); Ex. 31 at 57-58. Wexford’s UM department wrote the policy, and it was signed by

Dr. Thomas Lehman, Wexford’s Corporate Medical Director for Clinical Services & UM. Ex. 81 at

WEXDISC 446; Ex. 31 at 44, 57-58, 72. The policy does not contain signatures or authorizations

from any employees of the State of Maryland. Ex. 81 at WEXDISC 445.

        The plain language of the post-July 2012 policy, set forth in policy provisions “UM-001:

After-Hours Notification of Emergency/Hospital” and “UM-002: Emergency/Hospital

Notification,” was clear: a Site Medical Director or designated on-call physician had to first

determine that an ER referral was necessary before the patient could be sent out. Ex. 49 at 8; Ex. 48

at 25. The policy states: “After hours notification of emergency room visits prompts the Wexford

UM Department to intervene and review specific cases for medical necessity and appropriateness in a

timely manner. If the patient is then admitted, the Wexford UM Department will attempt concurrent

utilization review.” Ex. 81 at WEXDISC 449 (emphasis added). The first step in the notification


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procedure is for the “Site Medical Director or designee” to “determine[] that transport to the

emergency room/hospital is necessary,” and the policy is clear that the only designees authorized to

make such a determination are the Site Medical Director or on-call physician. Ex. 81 at WEXDISC

450. Consistent with UM-001 and UM-002, Wexford’s Emergency Room Visit Reduction Program,

discussed below, reiterated the requirement of a “gatekeeper”—and backup gatekeepers—to

approve “all ER trips.” Ex. 80 at WEXDISC 20931; Ex. 49 at 8; Ex. 48 at 25.

        Egregiously, Wexford deliberately changed its post-July 2012 UM policy to require physician

approval before sending a patient to the ER. Wexford’s pre-July 2012 policy, in effect while

Wexford held only the UM contract and did not pay for offsite care, stated: “Urgent and emergent

referrals are automatic approval as to not delay any care.” Ex. 49 at 8; Ex. 82 at WEXDISC 3607;

Ex. 31 at 64-65, 66. That language was removed from the post-July 2012 UM policy. Compare Ex. 81 at

WEXDISC 450, with Ex. 49 at 8.

        When Wexford took over on July 1, 2012, its new UM policy was disseminated to Wexford’s

doctors and nurses, who were trained on it. Ex. 31 at 58, 59-61, 62-63. And multiple Wexford staff

and administrators testified that they would seek approval before sending a patient to the ER. Ex. 23

at 131-133, 226-27; Ex. 21 at 72-73, 153; Ex. 24 at 32; Ex. 22 at 38-39; Ex. 49 at 8; Ex. 48 at 25; Ex.

19 at 39. Medical records from individual cases expressly documented requests for authorization

from senior medical staff before sending patients out to the ER. Ex. 43 at WEXDISC 33573; Ex. 79

at 51; see also Ex. 55 at NEAL 49859 (Fatima Neal’s medical records). Additionally, emails reveal that

nursing staff feared getting “in trouble” for sending patients to the ER or authorizing other nurses

to send patients to the ER. Ex. 46 at WEXDISC 24227.

        Wexford’s July 2012 UM policy was an egregious departure from the long-established well-

known principle in correctional medicine that medical staff must have the unencumbered ability to

call 911 if a patient requires emergency care. Wexford’s own supervisors and experts agree that


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requiring approval from a gatekeeper before calling 911 is obviously dangerous. Ex. 31 at 21-22; Ex.

34 at 163-164; Ex. 21 at 85; Ex. 16 at 110-113; Ex. 49 at 7-8. Wexford’s own expert acknowledged

that a medical contractor must ensure that all doctors and nurses understand that they do not need

approval before calling 911. Ex. 16 at 114-115. Wexford’s express policy required the exact opposite.

        C.         Wexford Sought Across-the-Board Reduction in ER Trips

                   1.    Wexford guaranteed a 10% reduction in offsite medical care before taking over patient care

        When it took over direct patient care in July 2012, Wexford had every intention of benefiting

from its financial incentive and reducing ER visits. Even in its proposals to win the contract,

Wexford guaranteed a 10% reduction in offsite visits, which included ER trips. Ex. 49 at 8; Ex. 59 at

WEXDISC 3210. The expressed premise was that Wexford could conduct targeted training and

provide additional equipment so it could care for more patients on site. Id. But Wexford actually

provided no additional training, equipment or other resources to expand the services in the

infirmary, while still reducing ER visits far beyond its expressed goal. See infra Arg. § IV; Ex. 49 at 8-

9; Ex. 48 at 26.

                   2.    Wexford sought across-the-board cuts in ER trips that far exceeded its own assessment of
                         how many ER trips were preventable

        In the period from 2010 to July 2012, while Wexford was in the UM role monitoring the rate

of offsite care, Wexford had determined that the rate of unnecessary visits was approximately 2 out

of every 108 ER runs per month, or slightly less than 2%. Ex. 83 at WEXDISC 3211, 3213; 95 at

WEXDISC 5740-51, 5766-76, 5789-97; Ex. 49 at 14. Both of Wexford’s senior UM managers

overseeing the Maryland contract, Drs. Asresahegn Getachew and Robert Smith, acknowledged that

the number of ER trips deemed unnecessary was very low, even before Wexford initiated concerted

ER reduction efforts. Ex. 31 at 25-26; Ex. 15 at 62-63.

        Wexford’s efforts to achieve hard target reductions in ER visits far above its own

determination of the number of unnecessary ER trips was thus plainly reckless. Between 2012 and

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2013 (when Wexford’s ER reduction efforts were in full effect), the average number of ER runs

across all Maryland facilities fell from 108 per month to 64 per month—a 40.7% reduction in ER

trips well above the promised 10%. Ex. 49 at 14; 95 at WEXDISC 5789-97. At one facility operated

by Maryland’s Department of Public Safety and Correctional Services (“DPSCS”), ER trips

decreased by 80% over a period of three months: 25 in December 2012, 10 in January 2013, and 5 in

February 2013. Ex. 58 at WEXDISC 28542, Ex. 68 at 28446; Ex. 49 at 15. Indeed, by January 2013,

Wexford commemorated that its ER referrals were “under budget.” Ex. 2 at WEXDISC22614.

       When Wexford achieved reductions in ER trips far greater than the rate of preventable ER

trips and its own more aggressive goals, it did not take any steps to assess whether the reductions in

ER runs were sacrificing patient outcomes. Ex. 49 at 14. This was contrary to accepted practice in

correctional medicine. Ex. 49 at 13, 15, 19-20. Wexford, through its UM Director and Rule 30(b)(6)

corporate designee, Dr. Smith, and its own correctional healthcare expert, Dr. Alfred Joshua, admits

that if a medical contractor is attempting to reduce ER visits, it would be dangerous to do so

without carefully monitoring the program to ensure patients were not suffering negative outcomes.

Ex. 15 at 118; Ex. 16 at 90-93, 97-100, 103-105.

               3.      Wexford sought across-the-board cuts in ER trips across all sites, unconnected to any
                       specific categories of care

       Wexford’s across-the-board cuts were not limited to particular sites or categories of care.

Wexford’s Health Services Administrator admitted that Wexford’s post-July 2012 ER reduction

efforts were not limited by category of care, and that those efforts remained in effect through 2014,

when she left. Ex. 19 at 55. In the Baltimore Pre-Trial Region (where Fatima Neal was housed), in

August 2012, Wexford’s Regional Director of Nursing for Baltimore Pretrial and Wexford’s

Regional Administrator for Baltimore Pretrial reported that ER reduction efforts were going well.

Ex. 60 at WEXDISC 26092-26093. And in the December 2012 Quarterly Regional Multivendor



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CQI Meeting report from the Baltimore Pretrial Region, Wexford noted that ER runs “remain

significantly down.” Ex. 61 at WEXDISC 24029.

        The same was true across other Maryland facilities. Reductions in ER trips were a constant

theme in CQI reports from 2012-2014 across Maryland facilities. Ex. 49 at 10-11, 12; Ex. 48 at 24,

26 (cataloging examples).1 None of those CQIs identified particular categories of care that were

appropriate opportunities for reduction; they simply called for reductions in ER trips across the

board. Id. For example, a January 2013 CQI for Maryland various sites stated the goal in clear terms:

“Minimize the number of Er runs for the month. Have emergent cases seen on site.” Ex. 7 at

WEXDISC 28546. A January 2013 CQI for another Maryland facility, Jessup, stated: “ER runs:

doing very well with documenting these runs and preventing ER trips.” Ex. 70 at WEXDISC 28554.

        In October 2012, Wexford’s CQI committee identified several Maryland facilities that had a

“time delay in responding to emergencies”; Wexford’s solution was to reduce ER runs, with a goal of

fewer than 20 ER trips per month. Ex. 4 at WEXDISC 25961-65; Ex. 49 at 12. This across-the-

board cut to ER trips per month did not come with any stated justification for a reduction in ER

runs to 20, what tools had been put in place to permit such a reduction, or what categories of care

might be targeted for reduction without sacrificing care. Ex. 4 at WEXDISC 25961-65. This

dramatic departure from acceptable practice in correctional medicine is both inherently dangerous to

patient well-being and further evidence that Wexford had subordinated the CQI process to UM’s

cost-cutting goals. Ex. 49 at 12.

        Meanwhile, Wexford’s statewide leadership continued to reinforce Wexford’s efforts to

reduce the number of ER trips and celebrate all such reductions. Ex. 71 at WEXDISC 24258-59;

Ex. 49 at 13. Wexford staff, including Wexford’s Director of Operations for the Maryland contract,

        1 See also, e.g., Ex. 61 at WEXDISC 24029; Ex. 62 at WEXDISC 22155; Ex. 63 at WEXDISC 22165;
Ex. 64 at WEXDISC 24985; Ex. 65 at WEXDISC 25482, Ex. 6 at WEXDISC 25835; Ex. 66 at WEXDISC
26908; Ex. 67 at WEXDISC at 28437; Ex. 68 at WEXDISC at 28446; Ex. 69 at WEXDISC 28542; Ex. 7 at
WEXDISC 28546; Ex. 70 at WEXDISC 28554.

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Marianne McKee, and its Regional Medical Director for Baltimore Pre-Trial (where Ms. Neal was),

Dr. Isaias Tessema, emailed staff to celebrate 25 consecutive days that staff made no ER referrals.

Ex. 40 at WEXDISC 24250-52, Ex. 42 at WEXDISC 24338-39; Ex. 43 at WEXDISC 33574-75.

Wexford’s Statewide Director of UM, Dr. Getachew, congratulated Dr. Tessema and noted his

“leadership and laser focus on ER runs” was “showing significant reduction in UM” in the

Baltimore Pre-Trial Region Dr. Tessema oversaw. Ex. 42 at WEXDISC 24338.

                4.      Wexford’s across-the-board cuts in ER trips across all sites were not based on any
                        expansion in services onsite that would justify such a drastic reduction

        Of course, if Wexford had invested in additional equipment, personnel, and other resources

to greatly expand the range of services available in its infirmaries, that could have been a responsible

approach to managing the costs of offsite care. Ex. 49 at 6, 13; Ex. 48 at 26. But Wexford did not

provide additional resources, equipment, training, or supplies to expand onsite services in the

infirmary when it took over the contract in 2012. Ex. 29 at 6-11, 59-60, 41-42, 46-47; Ex. 18 at 6-7,

17; Ex. 19 at 28-30, 34-39; Ex. 20 at 257-60, 266-68, 303; Ex. 21 at 68-69; Ex. 22 at 51-53; Ex. 23 at

86-88; Ex. 24 at 6-8; Ex. 25 at 379-80, 384-86; Ex. 14 at 222-27, 314-18, Ex. 27 at 114-116; Ex. 28

at 243, 290; Ex. 31 at 46-50; Ex. 17 at 35-36; Ex. 15 at 125-26 (Wexford 30(b)(6) corporate designee

and UM Director admitting same); see also Ex. 49 at 13; Ex. 96 at 16 (interrogatory response failing

to identify any expanded services in Baltimore Pretrial). Without that, its successful efforts to

drastically reduce ER trips were reckless and harmful to patients. Ex. 49 at 16-18, 20-21; Ex. 48 at

27. Indeed, Wexford’s own correctional healthcare expert conceded that a medical contractor should

attempt to reduce ER trips only if it also provides a commensurate infusion of resources to

supplement onsite care. Ex. 16 at 90-93, 97-100, 266-67, 270-71, 272-273, 285; Ex. 15 at 120

(Wexford’s corporate designee acknowledging same); see also Ex. 49 at 13.




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                5.       Wexford implemented additional processes and practices designed to incentivize medical
                         staff to delay and deny ER visits

        Wexford’s requirement that medical staff call a gatekeeper before sending a patient to the

ER, even when the patient was unresponsive and clearly in need of immediate transport, was a

strong message that ER trips were discouraged, and was itself a powerful incentive to delay or deny

care. Ex. 49 at 15; Ex. 48 at 26-27. But Wexford put in place lots of additional processes to

discourage medical staff from referring patients to the ER.

        Among other things, Wexford reviewed every ER referral to determine whether it was

unnecessary. Ex. 31 at 23-26, 45-46, 47-48; Ex. 36 at 70-71, 73, 75; Ex. 49 at 12. These reviews were

overseen by Wexford’s UM department, not its CQI department. Ex. 45 at WEXDISC 22723-24;

Ex. 21 at 100-01; Ex. 49 at 12. In other words, ER referrals were reviewed from the perspective of

cost-cutting rather than quality. Ex. 49 at 4-5. Wexford’s senior UM managers had daily calls with

regional medical directors (and other administrative staff) where they were required to “explain the

validity of ER referrals.” Ex. 19 at WEXDISC 22723-24; Ex. 37 at 64-65; Ex. 49 at 12. There were

also discussions about how to reduce so-called unwarranted ER runs. Ex. 34 at 119; Ex. 49 at 12.

Leaving no doubt that those discussions were about cost—not quality—in advance of those

discussions, UM would send the cost of each ER referral. Ex. 45 at WEXDISC 22723-24.

        This review process also specifically applied to the Baltimore Region, where Ms. Neal was

housed. The daily call for that region was attended by Dr. Tessema and UM staff including the UM

Director and UM nurses. Ex. 34 at 117-18. Following the calls, which included discussions about

how to reduce ER trips, Dr. Tessema would communicate non-confidential information from those

calls to the onsite providers. Id. at 117-2l, 182-84.

        There are many examples of the pressure to avoid ER trips—even in cases where there was

an indisputable need. Dr. Getachew told Dr. Tessema that the onsite doctor should have sent a

patient for imaging rather to the ER, where the patient was experiencing sudden and serious

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neurological symptoms. Ex. 44 at WEXDISC 34167; Ex. 49 at 14. In July 2013 onsite medical

providers were seeking to send a patient to the ER with second-degree burns to his face and chest,

but Dr. Tessema would not authorize it. Ex. HS 24. The patient’s condition was bad enough that the

correctional staff refused to take custody of the detainee and insisted he go out to the ER per the

request of medical staff. Id. Custody kept sending the patient back to the infirmary, only to be sent

back to custody again based on Dr. Tessema’s refusal to authorize the ER trip. Id. Dr. Tessema’s

correspondence revealed that Wexford’s policies had created pressure not to send the patient out. Id.

at WEXDISC 23801.

        Wexford’s leadership also emphasized its ER reduction efforts during evaluations of its

doctors. Ex. 49 at 13. In Wexford’s annual performance reviews, doctors’ and nurses were evaluated

on their “cost effectiveness.” Ex. 3 at WEXDISC 1775; Ex. 1 at WEXDISC 1780; Ex. 49 at 13. And

this was true of Dr. Afre, the primary physician overseeing Ms. Neal: in August of 2013, Dr.

Tessema evaluated Dr. Afre’s “cost effectiveness” as exceeding expectations and specifically noted

that Dr. Afre had “very low ER referral and manages complex cases in the infirmary.” Ex. 1 at

WEXDISC 1780; Ex. 49 at 13. Wexford’s Corporate UM Medical Director, Dr. Robert Smith,

acknowledged that emphasizing reduction of ER referrals to providers poses a risk that the

providers will fail to refer patients to the ER when it is necessary. Ex. 15 at 151; Ex. 49 at 13. Yet,

that is exactly what happened. Practitioners became afraid to call for emergency transport. Ex. 58 at

WEXDISC 24227; Ex. 46 at WEXDISC 24227. All of these processes and pressures Wexford

implemented created a powerful incentive to deny and delay necessary ER trips in favor of a “wait

and see” approach. Ex. 49 at 19; Ex. 48 at 26-27. And this posed obvious risks to patient safety—

particularly for neurological conditions, which can rarely be treated in an onsite infirmary, and for

most of which—like stroke—even a small delay in ER transfer can be catastrophic. Ex. 48 at 26.




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        D.      Predictably, Wexford’s Cost-Cutting Efforts Resulted in Increased Deaths

                1.      ER trips plummeted and deaths skyrocketed once Wexford took over

        Beginning in January 2010 until the ER Visit Reduction Program started in September 2011,

there were on average 108 ER runs per month (and only two preventable ER runs per month). Ex.

49 at 14; Ex. 95 at WEXDISC 5740-51, 5766-73. Starting in January 2012 through the end of

December 2013, however, the average number of ER runs fell to an average of 64 per month. Id.

        During this same time period, deaths increased dramatically. After Wexford’s efforts to

reduce ER trips went into effect, patient deaths increased. In the year after Wexford took over direct

patient care, deaths increased by an average of nearly 30% statewide and more than 63% in the

Baltimore pretrial region. Ex. 49 at 15-16; Ex. 5. In the two years after Wexford took over, deaths

increased on average over 28% statewide and over 40% for the Baltimore pretrial region. Ex. 49 at

16; Ex. 5. Even worse, deaths were increasing despite an overall slight decrease in patient

population. Ex. 88; 53 at 4-5.

        U.S. Department of Justice (DOJ) reporting on mortality rates in jails and prisons reveals

equally troubling findings. The number of deaths in Maryland prisons from 2010-2013 were 40, 41,

46 and 58, respectively. Ex. 87 at NEAL 104712; Ex. 53 at 4. In other words, deaths started to

increase immediately, even in 2012 when Wexford had been in full control for only half a year, and

then increased even more dramatically in Wexford’s first full year in charge of direct patient care. Id.

Indeed, the number of deaths in Maryland prisons in 2013 increased 45% from the 2010-2011

average of 40.5 deaths per year. Id. Again, the Maryland prison population was slowly decreasing

over the same period. Ex. 88. Accounting for this, per 100,000 inmates, the 2010-2013 Maryland

mortality rate was 175, 178, 211, and 267, respectively. Ex. 87 at NEAL 104713. So, the mortality

rate increased dramatically in 2013 during Wexford’s first full year responsible for direct patient care.

Ex. 87 at NEAL 104713; Ex. 53 at 4-5. The rate in 2013 was 51.3% higher in 2013 than the 2010-


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2011 average. Id. Expanding the number of years does not change the analysis: a comparison of the

three full years before Wexford took over (2009-2011) to the three full years after it took over (2013-

2015) produces the same staggering results. The Maryland average mortality rate per 1000 for 2009-

2011 was 202.33; for 2013-2015, it was 255, a 26% increase. Ex. 49 at 5. Put simply, patient deaths

increased dramatically once Wexford took over in July 2012 and implemented its across-the-board

ER reduction policy.2

                 2.      Wexford’s ER reduction efforts led to delay and denial of necessary emergency care in
                         dozens of cases, resulting in deaths

        Dr. Ryan Herrington, Plaintiff’s correctional healthcare expert, conducted a review of the

available medical records for 24 cases—most involving deaths—that occurred under Wexford’s care,

and found that in 19 of those cases there were violations of the standard of care directly related to

Wexford’s ER reduction efforts. Ex. 48 at 5-18. More specifically, in those 19 cases he found that

Wexford improperly delayed or denied emergency care. Id. Those cases are summarized as follows:

        ● R.G. died in 2010 from a pulmonary embolism. The day he died, he came to the
          infirmary complaining of dizziness, chest pain, and shortness of breath. He required help
          from two other inmates to get him to the infirmary. There was a delay in calling 911, and
          so EMS took 65 minutes to arrive. Wexford’s own mortality review notes that his blood
          pressure was not monitored and the labs that had been ordered were not done; his
          medical problem was not identified and he was not triaged to chronic care; and his initial
          evaluation on the day he came to the infirmary was not to standard. Wexford’s Corrective
          Action Plan (“CAP”) also notes that nurses failed to document an admission assessment,
          failed to document his significant change in condition and notify the on-call provider.
          R.G. should have been evaluated immediately at the infirmary and sent to the emergency
          room when he experienced a significant status change that signaled a life-threatening
          emergency, and 911 should have been called right away. Id. at 8.
        ● C.A. died in May 2011 from a heart attack. He presented with complaints of chest pain
          and low oxygen levels, and he was cool and clammy. An EKG suggested coronary

        2  Notably, it was Wexford’s correctional healthcare expert, Dr. Fowlkes, who originally cited to the
DOJ data to suggest that the mortality rate in Maryland was below national averages. Ex. 52 at 40-41. But as
he had to concede, he looked only at DOJ mortality rate data for prisons, even though in Maryland Wexford
also managed patients in pretrial jail facilities (like the BCDC where Ms. Neal was housed). Ex. 52 at 40. The
same DOJ data is available for jails, and it shows that the mortality rate in jails is vastly lower, given the
younger patient population and shorter custody periods. Ex. 86 at NEAL 104683. After accounting for the
mix of jail and prison population in Maryland, the average mortality rate in Maryland for 2013-2015 was
greater than the national average. Ex. 53 at 4.

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   ischemia—an indicator of a heart attack—but the physician ordered treatment for acid
   reflux and asked for a call back. Providers returned his call at 4:43 a.m., and called 911 22
   minutes later. Ex. 48 at 14-15. A 22-minute delay in calling 911 for a patient who presents
   with obvious heart-attack symptoms is an unacceptable delay. Given his presentation,
   treating C.A. with Maalox for gastric acid reflux is inappropriate and profoundly risky;
   what was needed was immediate transfer to the ER to treat an acute cardiac event. Id. at
   14-15.
● E.A. presented in January 2012 with excruciating headache, left facial and upper
  extremity numbness, and blurred vision, obvious stroke symptoms. Her symptoms
  persisted over hours. Medical records reference a previously scheduled MRI. About three
  hours after that, her left-sided neurological symptoms had worsened; E.A. report, but no
  ER referral or other intervention was undertaken by the treating physician, Dr. Afre.
  When her symptoms further worsen and she reports total facial heaviness, numbness, and
  droop, she is finally sent to the ER. She has suffered a stroke. She should have been sent
  to the ER at least five hours earlier, when she was displaying obvious stroke symptoms
  that required immediate ER transfer. Id. at 14.
● S.P. presented with a worsening headache in May 2009. Over the next two years, he
  displayed a number of other obvious symptoms of neurological deterioration, including
  weakness in his arms and legs, difficulty walking, numbness, sensory symptoms, and
  neurogenic bowel. Providers requested a cervical spine MRI or orthopedic consultation in
  July 2011, but Wexford’s UM intervened twice and redirected him to other therapies. By
  February 2012, he had weakness in all four extremities and had difficulty walking. He was
  admitted to the infirmary, and eventually taken to the hospital with progressive
  quadriparesis, where he was diagnosed with a skull tumor. He was treated and survived,
  but experienced years of excruciating pain. This was “an appalling case of neglect”; on
  numerous occasions he should have been sent to the ER and for offsite neurological care.
  Id. at 10-11.
● C.R. died in August 2012 from a cerebral embolus, a type of stroke. He had recently been
  discharged from the hospital for treatment of a heart condition, and presented to the
  infirmary with an unsteady gait, slurred speech, an elevated blood pressure, and one-sided
  weakness---obvious signs of a neurological event and a medical emergency. Records
  indicate that the physician wanted to contact the medical director for authorization to
  send C.R. to the emergency room. The 911 call went out two and a half hours after
  nurses called the on-call doctor. Wexford’s CAP admitted that C.R.’s death was a failure
  to timely send him to the ER, and to document and communicate to the doctor changes
  in symptoms that should have precipitated an immediate ER referral. Id. at 11-12.
● A.S. was HIV positive, and died in September 2012 from sepsis. He presented with a
  temperature of 102.8 and heart rate of 112. He was later admitted to the infirmary with a
  103.2 degree fever and a heart rate of 120. The next day he had a fever and sore throat,
  and was prescribed penicillin. The day after that, he had a fever of 103.8 and a heart rate
  of 122. The day after that, he had a fever of 105.1 and a heart rate of 135. After that, he
  was coughing up blood. Even then, he was not transferred to the ER until the next day,
  and died three days later. A patient with HIV and an uncontrolled and extremely high
  fever, suggestive of sepsis, should have been thoroughly worked up, which required
  transfer to the ER. Even when he was significantly and obviously unstable, spitting up


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   blood, there was an additional five hour delay before he was actually sent to the ER. Id. at
   17-18.
● F.R. died in December 2012 of suspected sepsis. He presented with respiratory distress
  and a marked change in mental status. The physician was notified and ordered vital
  checks every four hours. Providers should have called 911 immediately, resulting in a
  delay in sending F.R. to the ER. Id. at 12.
● E.Ha presented in January 2013 with slurred speech and loss of coordination. He was
  admitted to the infirmary, and the next day he reported loss of balance and falling. Nurses
  noted right arm weakness and right facial drooping. These are obvious stroke symptoms
  and providers should have sent him for emergency care immediately. There is no record
  that anyone contacted a doctor at that time. A physician saw him nine hours later and
  noted the same symptoms, but prescribed bed rest in the infirmary. Id. at 15.
● D.J. died in April 2013 from a cardiac arrhythmia with cardiomegaly. He was a 21-year
  old with no history of mental illness, but presented with psychosis and confusion. He was
  referred to the mental health unit even though he had been seen the previous day and had
  no symptoms. Given no medical history of mental illness and sudden change in status, he
  should have been sent to the ER. Indeed, Maryland investigator’s raised the same
  concerns in their death review. Id. at 16.
● A.C.B. died in May 2013 from a brain infarct (stroke). He presented in 2013 with a
  severe headache, right-sided weakness, and complaints of right-side paralysis. These are
  clear signs of a possible neurological event. Providers suspected a stroke, but waited over
  two hours to call 911. He should have been sent to the emergency room immediately. Id.
  at 6.
● A.D. died in May 2013 from syncope (which can be caused by heart disease) and diabetes.
  He had a history of diabetes and high blood pressure, and had been seen for chest pain
  several years prior. Providers should have sent him out for emergency care to rule out a
  myocardial infarction, and should also have been risk stratified through a stress test or
  treadmill test to test for heart disease. Id. at 6-7.
● G.M. died in June 2013 from hypertensive cardiovascular disease. He was admitted to the
  BCIBC with a history of high blood pressure and opioid addiction, and was referred to
  the medical department to coordinate his withdrawal. Medical providers never saw him,
  or documented his vital signs. He suffered cardiac arrest and died the same day he was
  admitted. Id. at 7.
● T.Lo presented to the infirmary in June 2013 with complaints of weakness and lethargy.
  Her condition deteriorated significantly over the next three days, and by the second day
  she was unable to lift her head, walk, or eat or drink, her vital signs were erratic, she was
  vomiting, and she complained of 10/10 pain. She was not sent to the ER until three days
  after getting to the infirmary, where she died of lung cancer. Wexford’s own CAP noted
  failures to document and communicate serious changes in her condition, like rapidly
  deteriorating vital signs. She should have been sent to the ER both when she was first
  admitted to the infirmary, and at numerous points when her condition deteriorated over
  the next 48 hours; the three-day delay in sending her to the ER was improper. Id. at 9-10.
● J.M. died in July 2013 after presenting with shortness of breath, lower back pain,
  abdominal pain, chest pain, 10/10 abdominal tenderness with no bowel movement for

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   three days. He was observed sweating, restless, and vomiting. He was observed briefly in
   the infirmary before being sent back to his cell. His records do not indicate that a
   physician was notified about his change in status. He died the next day. His significant
   change in status was never communicated to a physician to intervene to assess his
   medical need, including possible transfer to the ER. Id. at 17.
● R.S. died in March 2014 from a pulmonary embolism. He had asthma, and presented
  with wheezing, chest tightness, and low oxygen levels. The next day, he was coughing
  blood and experiencing pleuritic chest pain. These two symptoms combined indicate the
  presence of a potentially fatal pulmonary embolism and he should have been immediately
  sent to the ER. Instead, R.S. remained in the infirmary, and two days later, he went into
  cardiac arrest. Id. at 12-13.
● R.A. died in March 2014 from hypertensive cardiovascular disease and pulmonary edema.
  He had a history of seizures, high blood pressure, and cardiomyopathy. Ten months after
  he was incarcerated, he had a seizure and died. DPSCS’s death review identified a number
  of medical shortcomings, including failures to follow up on known medical conditions
  and inappropriately discontinuing blood-pressure medication just a few months before
  R.A. died. R.A. should have been referred for offsite intervention on multiple occasions,
  which was necessary to properly and diagnose and treat his conditions. Maryland’s
  investigator conducted a death review and reached the same conclusion. Id. at 13.
● E.Ho died in April 2014 from a stroke. He presented with high blood pressure and
  headache—the combination of which indicates a stroke—and should have resulted in
  immediate transfer to the ER. He was instead given medication and returned to his cell.
  The next day, he presented with high blood pressure, headache, facial drooping, aphasia,
  and left-sided weakness. He was sent out at that time, far too late, and he died four days
  later from an intracerebral hemorrhage. Id. at 15-16.
● T.Le died in 2016 from a perforated gastric ulcer. She was having difficulty breathing and
  her oxygen saturation was low. Nursing staff were unable to reach the on-call physician,
  and records indicate there was up to a 64-minute delay before 911 was called. That delay
  was improper; rather than attempting to get a hold of the on-call doctor, 911 should have
  been called immediately. Id. at 8-9.
● D.B. was admitted to the infirmary twice over three days in 2016 with complaints of
  vomiting, and sudden and severe headaches—obvious stroke symptoms. Neurological
  causes were not ruled out, and instead he was given pain medication. Three days later, he
  was found unresponsive. Medical staff delayed 50 minutes before calling 911. D.B. died
  of a stroke and large cerebral infarct. D.B. should have gone to the ER for stroke
  symptoms three days earlier when he went to the infirmary with stroke symptoms, and
  Wexford’s providers should have called 911 immediately when D.B. was found
  unresponsive. Id. at 5-6.




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                3.      Wexford’s own expert admitted there were failures in at least 6 of the 19 cases
                        Dr. Herrington identified

        Wexford’s own correctional medicine expert, Dr. Thomas Fowlkes, admits that he had

concerns about the delay in ER referral in at least six of the cases above, including D.B., A.C.B.,

T.Le, T.Lo, C.R., and R.S. Ex. 33 at 241, 271-74, 323-25.

        ● A.C.B.: Dr. Fowlkes had concerns about the length of time it took to contact emergency
          services. Id. at 292-94.
        ● T.Le: he concedes there might have been a delay in calling for emergency care. Id. at 318-
          321.
        ● T.Lo: he agrees that she should have been sent to the hospital when she became unable
          to walk and had 10/10 pain the day before. Id. at 321.
        ● C.R.: he agrees that the delay in calling an ambulance after C.R. was found unresponsive
          was a problem. Id. at 323.
        ● R.S.: he agrees that R.S. should have been sent to the hospital when he was treated for
          respiratory symptoms. Id. at 330-331.
        ● D.B.: he agrees that D.B. had concerning symptoms in the week before his death, but
          concludes only that he does not have sufficient information to affirmatively state that
          there was a breach of the standard of care. Id. at 275-76.

                4.      Wexford admitted in its own CAPs that patients should have gone out sooner

        In addition to the examples above, there were a series of CAPs—including two admitting to

unacceptable delays in sending the patients to the ER—that identified recurring failures in patient

care. CAPs, by definition, were created when failures in its patient care were identified. Ex. 21 at 88,

94-95, 120-21; Ex. 34 at 41-42; Ex. 19 at 10-11.

        After C.R.’s death on August 24, 2012, Wexford issued a CAP that contained numerous

areas of concern: that the nurse failed to communicate to the physician when the patient’s blood

pressure was critically high and should have been sent out to the ER; the physician ordered Tylenol

rather than sending the patient to the ER; the nurse failed to monitor C.R.’s elevated blood pressure;

multiple documentation failures; a failure to recognize and communicate a change in the patient’s

condition, including alteration of mental status; and a three-hour delay in sending to the ER. Ex. 12



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at WEXDISC 25275-76. Ultimately, Wexford’s UM Director wrote in internal emails: “Based upon

my review, there were salient documentation deficiencies and a gross error in communication

regarding the patient’s vital signs (BP 215/68) that led to what appears to be mismanagement of his

emergency status.” Ex. 72 at WEXDISC 32542. Put simply, in addition to a series of documentation

and communication failures with regard to a patient displaying obvious stroke symptoms, in multiple

instances the patient should have been sent to the ER but was not, resulting in an unacceptable

delay. Ex. 12 at WEXDISC 25275-76; Ex. 21 at 125-127; Ex. 48 at 19.

       The failures in care related to C.R.’s death drew significant attention. The CAP was

distributed to Wexford’s Statewide Director of Operations Ms. McKee and the UM Directors Drs.

Getachew and Smith, and also went to Wexford’s corporate head of risk management to review the

death from a “risk management perspective.” Ex. 73 at WEXDISC 29289. Dr. Sharon Baucom, who

oversaw the contract for DPSCS, also learned about the CAP and met with the CQI Director to

communicate her “discontent.” Ex. 47 at WEXDISC 25469; Ex. 21 at 133-35. That discontent was

communicated to Drs. Getachew and Smith, and Ms. McKee. Ex. 47.

       The T.Lo CAP involved T.Lo’s June 2013 death as a result of undiagnosed metastatic

carcinoma in her lungs. Like Ms. Neal, T.Lo was in the infirmary for more than 48 hours,

demonstrably deteriorating with obvious symptoms, but without being sent out. The CAP expressly

acknowledged numerous failures: “significant change in condition not recognized by nursing staff”;

“Vital signs recorded but no communication to MD”; “Changes in condition (weakness, lethargy,

altered vital signs not reported to provider)”; and “Patient decompensated rapidly after infirmary

admission.” Ex. 10 at WEXDISC 22434. The CAP also identified serious documentation failures

that contributed to the outcome. Id. at WEXDISC 22434-35. Ultimately, Wexford acknowledged

that the “Patient should have been transferred to ER via 911 when status changed.” Id. Like C.R.,




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T.Lo’s CAP identified critical failures, including the failure to send the patient to the ER far sooner.

Id.; Ex. 21 at 139-40.

        Although both the C.R. and T.Lo CAPs identified a critical failure to timely send patients to

the ER, both of whom died, the CAPs themselves were deficient in that they did not contain

benchmarks and other components of a proper CQI process designed to ensure improvements that

would actually prevent recurring problems. Ex. 21 at 141-143.

        There were numerous additional CAPs that reflect similar recurring failures found in Ms.

Neal’s case. Among them is a November 2012 CAP from the Baltimore Pretrial Region (three days

before Ms. Neal’s death, in the same region) finding that there was a need to “Update nursing

knowledge related to paralysis and neurological findings….” Ex. 13 at WEXDISC 25699. Wexford

knew that its nurses had failed to properly respond to a clear neurological emergency after C.R.’s

death from stroke several months earlier, and the 2012 CAP again indicates Wexford knew that

nurses’ knowledge about paralysis and neurological findings was insufficient. Ms. Neal died shortly

thereafter, after displaying paralysis and other clear neurological red flags. Ex. 48 at 19.

        Wexford also issued a January 2013 CAP stating, “There was is [sic] a continuous failure by

nursing to follow through on basic nursing tasks such as obtaining weights, follow up with providers

and appropriate documentation. These tasks are an essential part of the inmate’s medical care and

must be performed on all inmates at every encounter along with appropriate documentation in the

EMR.” Ex. 8 at WEXDISC 37030. This is a remarkable admission by Wexford that its medical staff

were failing to perform even the most basic aspects of responsible medical care. Ex. 48 at 20. In the

period from June 2010 through June 2013, there are at least five additional CAPs that relate to

failures in meeting even the most basic standards of care, including taking vital signs, documenting

infirmary care, and communicating critical patient information to physicians. Ex. 48 at 20-21; Ex. 74

at NEAL 102675-78, 102687, 102685; Ex. 11 at WEXDISC 22438; Ex. 9 at WEXDISC 22431-32.


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The natural and foreseeable consequence of such deficiencies, as with Ms. Neal, C.R. and T.Lo, is a

failure to timely refer patients to the ER. Ex. 48 at 21.

                 5.     Wexford’s CQIs contain staggering admissions

        As part of a July 2012 CQI agenda, Wexford’s Statewide CQI Director, Donna James, wrote

that she is “aware regions/sites are stressed, in a state of turmoil and CQI is not a top priority.” Ex.

75. This is another remarkable admission about the state of affairs, and about Wexford’s ability to

make the sort of changes it knew were necessary. Ex. 48 at 22. Other CQIs over the ensuing months

and years show that issues with failures in documentation and communication, as well as the number

of infirmary ER runs, kept coming up, and that in many cases the CQI findings were simply

repeated verbatim month after month, indicating that the problems persisted without meaningful

corrective action and resolution. Ex. 48 at 21-22; Ex. 76; Ex. 77 at WEXDISC 36043; Ex. 78 at

WEXDISC 36003.

        E.      The Problems Identified through Death Reviews, CAPs, CQIs, and Other
                Records Were Recurring Issues Well Known to Wexford’s Senior Leaders

        Ultimately, Wexford’s senior leaders knew its aggressive, across-the-board ER reduction

effort was causing negative patient outcomes, including deaths. Wexford’s Statewide CQI Director

testified that failures to identify and document symptoms were recurrent system-wide problems, and

most critically, that the failure to timely send patients out for emergency care was also a recurring

issue. Ex. 21 at 61-62, 144-145. She further stated that these issues were communicated up the chain

at Wexford to people like Ms. McKee, Director of Operations, and Drs. Smith and Getachew,

Directors of UM. Id. 144-45.

        These same senior leaders also saw that these failures were causing increased deaths. In April

2013, Ms. McKee wrote, “It seems to me we have had a lot of deaths.” Ex. 41. In an October 2012

email, Ms. McKee widely circulates a congratulatory email for another 20 days without any ER trips,

but is chastised by another supervisor who suggests “we hold off a bit sending this congrats to the

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client since the investigation of the inmate death . . . includes questioning on why we waited so long

to send him out” and “[t]he documentation . . . states that the physician was awaiting the regional

medical director to approve sending the patient out.” Ex. 43 at WEXDISC 33573-74. Rather than

address the root problem—the ER reduction initiative itself—Ms. McKee simply responded that she

agreed the congratulatory emails should not go to the client. Id.

        That these failures resulted from Wexford’s financial incentives was apparent. Corporate

Wexford staff, including Wexford’s CEO, CFO, and Director of UM, and the statewide leadership

responsible for overseeing the DPSCS contract, regularly participated in monthly management

meetings for the Maryland contract. Ex. 20 at 238, 240-41; Ex. 30 at 55-62; Ex. 35 at 109-10; Ex. 36

at 117-22. During these calls, Wexford’s senior leaders routinely discussed offsite trips, including ER

runs, trends, CQIs, and CAPs. Ex. 30 at 63-66. Wexford leadership also discussed how Wexford’s

actual costs compared with its budget and expected profit margin, and what could be done to

increase profitability. Ex. 20 at 237-39, 242-43; Ex. 36 at 121-124; Ex. 35 at 112.

        F.      Wexford’s Contention That the Sole Evidence of ER Reductions Was a
                Corizon-Only Policy Is Belied By the Record

        Wexford says that any ER reduction policy was solely a Corizon-only policy that began and

ended in 2011, and was limited to reducing ER trips for three very narrow types of care. Def. Br. at

10-11. This argument is plainly contradicted by the record.

        Putting aside the ample evidence that Wexford presided over an expansive, across-the-board

ER reduction program post-2012, Wexford’s reliance on the “ER Visit Reduction Program”

documented in its 2012 annual report does little to help it. Wexford is right about one thing: in 2011,

while Corizon was responsible for direct patient care and Wexford was in charge of UM, there was a

so-called “ER Visit Reduction Program” that targeted reductions in ER in the Baltimore region by

“increasing onsite capability to address emergency situations” and initially targeted three specific

categories of care. Ex. 4 at WEXDISC 20923; Ex. 49 at 9.

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        But Wexford’s argument is wrong in every other sense. First, the ER Visit Reduction

Program was clearly a UM policy, put in place by Wexford’s UM department. Ex. 21 at 97-98; 100-

01; Ex. 19 at 34; Ex. 49 at 10. The Program is contained in Wexford’s 2012 annual report entitled

“Central region Baltimore Annual performance improvement report.” Ex. 4 at WEXDISC 20880.

Wexford does not explain why, if it was not a Wexford policy, it appeared in its annual report.

        Likewise, the policy itself states that the planning phase was August-September 2011,

implementation phase was October 1-November 2011, consolidation phase was December 2011,

and then maintenance phase was “January 2012, Onward.” Id. at WEXDISC 20923-25 (emphasis added).

By the time the 2012 CQI annual report was published, the policy was already well into its

maintenance phase, id. at WEXDISC 20889, and nowhere in Exhibit 4 does it state that the policy

was no longer in place.

        Next, the claim that the program was limited to just three categories of care is belied by the

actual policy, which shows that by design, the program would expand. It states that the “first group

of disorders to be managed on site” would be seizures, orthopedic disorders, and DVT/cellulitis,

and that Wexford “will select more disorder[s] through the process.” Id. at WEXDISC 20923-24.

Indeed, in the maintenance period, there are no longer references to the specific category of

seizures, but rather neurology-related ER runs generally. Id. at 20924-26. Moreover, once the

maintenance period began, the plan was to “establish back up gatekeeper on call for all ER trips,”

without any reference to a limitation to particular conditions. Id. at WEXDISC 20931. Put simply,

even if Wexford’s ER reduction efforts had never grown beyond the original incarnation contained

in Wexford’s 2012 annual report—ignoring all evidence above to the contrary—it would still be

deeply problematic, because the policy introduced an additional gatekeeper to approve all ER trips, a

policy resulting in known and obvious risks to patient welfare. See supra § I.B.




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       By the time Wexford took over in July 2012—with new financial incentives in place that

would allow it to increase profits if it could reduce costly ER visits—the ER Visit Reduction

Program documented in the 2012 annual report had morphed into something far more expansive,

applying across all sites and all categories of care, and supported by a new UM written policy that

reiterated the need for supervisory approval before sending a patient to the ER.

       G.      Wexford Had Ample Notice that Its UM Policies and ER Reduction Efforts
               Would Produce Negative Patient Outcomes

       As set forth above, within the correctional medicine setting, it was obvious and understood

that it was unacceptably reckless to implement an across-the-board ER reduction effort without a

commensurate infusion of resources to expand onsite care, or without a robust audit program to

ensure the ER reduction was not compromising patient health. See supra § I.C.2. But Wexford had

ample on-the-ground evidence that its ER reduction efforts would be dangerous.

               1.      Wexford’s UM role prior to July 2012 gave it unlimited access to information about
                       patient outcomes in Maryland facilities

       Wexford has held the UM portion of the Maryland contract since June 2005. Ex. 83 at

WEXDISC 3207; Ex. 85 at WEXDISC 3336-37. In that role, Wexford had extensive access to

information about patient care across Maryland facilities. See Ex. 83 at WEXDISC 3208-09. So much

so that Wexford produced over 80 monthly reports and 20 daily reports, including information

about ER compliance, trends, and infirmary acuity. See Ex. 83 at WEXDISC 3208-09 (§ 1.A.2); Ex.

31 at 30-37. In the period prior to July 2012, Wexford senior administrators like Dr. Smith had

access to patient records, CAPs, CQIs, and other information about patient outcomes, deaths, and

trends in patient care. Ex. 15 at 70-71; Ex. 19 at 10-16, 23; Ex. 31 at 30, 38-43. Indeed, Wexford’s

UM staff were participating in retrospective reviews of ER trips, monitoring the status of patients

who went to the ER, participating in weekly collegial meetings with Corizon providers, and

participating in death reviews. Ex. 31 at 23-24, 31-33, 38-41; Ex. 34 at 31-33. Finally, many of


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Wexford’s senior medical supervisors on the contract—including its UM Director, Statewide

Medical Director, and others—simply moved from Corizon to Wexford in July 2012, and brought

with them their intimate knowledge about patient care and outcomes, and in this way were also

aware of trends in CAPs and areas of deficiency identified in CQIs over time, including when they

worked for Corizon prior to July 2012. Ex. 19 at 19-23, 32; Ex. 14 at 172-174; Ex. 34 at 13-14; Ex.

31 at 7-8.

        Based on that access, in the years leading up to July 2012, Wexford had notice that the

policies and practices in place—including its own UM policies—were producing negative patient

outcomes, as documented in CAPs and death reviews. This included the initial incarnation of the

ER Visit Reduction Program beginning in 2011, which put Wexford on notice that its ER reduction

efforts, even in their narrower form, were dangerous. While the ER Visit Reduction Program was in

its pilot and then early maintenance phase in Baltimore in 2012, ER trips per 1,000 detainees

dropped almost 80%, far greater than the 10% original target (and further evidence that it was never

really limited to three discrete categories of care). Ex. 4 at WEXDISC 20930, 20924; Ex. 49 at 10.

        Relatedly, in just the period from 2010 to Ms. Neal’s death in November 2012, there were a

number of deaths and other negative patient outcomes that put Wexford on notice of the ample

failures in the patient care and UM policies in place during that time. That includes the failures in the

cases of R.G., C.A., E.A., S.P., C.R., and A.S., discussed supra § I.D.2. Notably, all of these cases

involved the delay or denial of ER care, and three involved neurological conditions where the

standard of care was not met. Id. The C.R. case is particularly relevant because it involved a stroke,

and because Wexford’s own CAP admitted that C.R.’s stroke symptoms required immediate ER

referral and his death was caused by a failure to timely send him to the ER. Id.




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                2.      Wexford’s aggressive ER reduction efforts in other states also produced troubling results

        The Maryland contract was not the first time Wexford attempted aggressive reductions in

ER and other offsite visits. To the contrary, it has pressed for similarly aggressive cuts in ER visits in

other states, with negative outcomes. In its 2006 bid to the Clark County Sheriff’s Office in

Washington, Wexford touted its ability to save money by dramatically decreasing offsite care. Ex. 90

at NEAL 15229; Ex. 53 at 1. Wexford had previously provided a staggering 81% reduction in the

client’s financial obligation, in part due to a 50% decrease in ER visits, from 57% of the population

to 26% of the population in a single year. Id. By 2008, Clark County Juvenile Detention Center staff

noted that Wexford’s nursing staff was failing to appropriately evaluate patients, document their

care, and to provide necessary treatment in a timely fashion. Ex. 91; Ex. 53 at 2. Reports from the

Mississippi Department of Corrections indicate that in 2012 Wexford’s providers were not

accurately documenting patients’ medical conditions or care, and causing delays in offsite care. Ex.

93 at NEAL 22262, 22289, NEAL 22296, NEAL 22305, NEAL 22327; Ex. 53 at 2.

        In Illinois, court-appointed experts in a class-action lawsuit about Wexford’s medical care in

Illinois prisons, Lippert v. Godinez, No. 10-cv-4603 (N.D. Ill.), found that there was “considerable

morbidity and mortality associated with untimely or lack of referral for higher level of care.” Ex. 89

at NEAL 103531. The experts reviewed 33 deaths from 2017 and identified 93 episodes of care in

which a patient should have been referred to a hospital but was not. Id. at NEAL 103531. In many

instances, the experts found that the delays or denials of care contributed to deaths themselves. Id. at

NEAL 103531. The experts described these delays or denials of care as a “cost containment

mechanism.” Id. at 103531. The practices described in the Lippert report mirror the policies and

practices that Wexford implemented in Maryland, to similarly disastrous effect. Ex. 53 at 2.




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        And in 2020, the New Mexico Corrections Department reported that Wexford had no

meaningful CQI program. Ex. 92 at NEAL 101381. This, too, mirrors Wexford’s actions in

Maryland, where it subordinated CQI to UM. Ex. 53 at 2.

II.     Ms. Neal’s Case Reflects the Recklessness of Wexford’s Cost-Cutting Efforts

        During the individual phase of this case, Wexford hired neurologist and neuropathologist

experts who opined that Ms. Neal had suffered a sudden (and thus untreatable), catastrophic stroke

the morning of November 4, 2012. But Wexford has now dropped those two experts and retained a

new neurologist expert, Dr. Schwartz, who makes a critical concession: he agrees with Plaintiff’s

experts that Fatima Neal had been suffering from strokes for at least 48 hours before her death. Ex.

32 at 31-32, 210; Ex. 50 at 91. In other words, Ms. Neal was suffering the effects of an untreated

stroke on at least November 2 and 3, while she was under 24-hour medical observation and care by

Wexford’s doctors and nurses in its infirmary.

        Given that Defendants no longer dispute that Ms. Neal had been suffering from the

symptoms of an untreated stroke while in the Wexford infirmary for several days, Plaintiff will not

recite the mountain of evidence proving that Ms. Neal was suffering the symptoms of strokes

throughout her three days in the Wexford infirmary, and that Wexford medical providers knew it

but failed to send her to the ER. That evidence is set forth in detail in Plaintiff’s response to

Defendants’ motion for summary judgment in the individual phase, Dkt. 228 at 12-34, and is

incorporated herein. Plaintiff will merely summarize some of the critical evidence below.

        A.      Ms. Neal was Suffering Obvious Stroke Symptoms over Three Days, with the
                Knowledge of Wexford’s Medical Staff

        Around 2 a.m. on November 1, 2012, Ms. Neal’s cellmate woke up to find her walking into

things, screaming that her head hurt and she could not see, and speaking incoherently. Ex. 100 at

NEAL 607; Ex. 135 ¶ 6; Ex. 98 at 40-42. Acting on an emergency call from a BCDC correctional

officer, former defendant Nurse Ajayi came to Ms. Neal’s cell at 2:30 a.m., where Ajayi documented

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that Ms. Neal was “weak” and had a “knowledge deficit.” Ex. 55 at NEAL 29888; Ex. 26 at 63, 74-

75. Ajayi brought Ms. Neal to former defendant Wiggins, the on-duty physician’s assistant (PA),

who decided Fatima should be admitted to the infirmary for observation. Ex. 26 at 56-57, 62-63,

102-103; Ex. 112 at 382.

        There is ample evidence that over the next three days in the infirmary, Ms. Neal suffered

numerous, obvious stroke symptoms:

        ● One-sided weakness that left Fatima unable to move one leg and arm, such that Fatima
          was dragging one side of her body. Ex. 113 at NEAL 903; Ex. 103 at 7-8; Ex. 110 at
          NEAL 897; Ex. 114 at NEAL 900; Ex. 98 at 52; 78-79; Ex. 120 at 191; Ex. 124 at NEAL
          8.
        ● Inability to move without assistance, to maintain balance, or to walk without falling
          down. Ex. 98 at 76; Ex. 121 at NEAL 1170-71; Ex. 26 at NEAL 900; Ex. 21 at NEAL
          897; Ex. 101 at NEAL 611; Ex. 113 at NEAL 903; Ex. 103 at 7.
        ● Impaired vision and blindness, confusion and/or hallucinations, incoherence, and
          difficulty speaking. Ex. 121 at NEAL 1170; Ex. 100 at NEAL 608; Ex. 114 at NEAL 900;
          Ex. 98 at 43; Ex. 99 at NEAL 612; Ex. 103 at 7-8; Ex. 111 at 232.
        ● Persistent and severe headaches that did not respond at all to pain medication and caused
          Fatima to cry out in pain. Ex. 121 at NEAL 1171; Ex. 114 at NEAL 900; Ex. 103 at 6-7;
          Ex. 100 at NEAL 608; Ex. 101 at NEAL 611; Ex. 113 at NEAL 903.
        ● Vomiting coupled with an inability to eat or get out of bed. Ex. 103 at 7; Ex. 121 at
          NEAL 1170; Ex. 113 at NEAL 903; Ex. 99 at NEAL 613; Ex. 114 at NEAL 900; Ex. 120
          at 191.
        ● Incontinence—urinating and defecating on herself. Ex. 103 at 7; Ex. 98 at 42, 146-148;
          Ex. 114 at NEAL 900; Ex. 121 at NEAL 1171; Ex. 99 at NEAL 613.

All of these are obvious signs of strokes to any medical practitioner. Ex. 39 at 127, 165, 167-168.

Indeed, even lay people commonly understand these to be quintessential signs of stroke. Ex. 106 at

¶¶ 5-10; Ex. 107 at 5; Ex. 108 at 3, 4; Ex. 39 at 154. Not surprisingly, then, the detainees that

observed Fatima believed she had suffered a stroke and that “[i]t was obvious that Ms. Neal needed

medical help badly the entire time that she was in the infirmary” Ex. 113 at NEAL 903; Ex. 120 at

191; Ex. 110 at NEAL 897; Ex. 121 at NEAL 1171; Ex. 114 at NEAL 900; Ex. 99 at NEAL 613.




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       Wexford’s doctors and nurses knew Ms. Neal was suffering stroke symptoms. Former

defendants Ajayi, Obadina, Afre, Ohaneje, Jamal, El-Sayed, and McNulty all interacted with Ms.

Neal while she was displaying stroke symptoms. Ex. 109 at 1-3, 6-27, 30; Ex. 27 at WEXDISC 254-

56. Multiple detainees reported that they directly and repeatedly informed the nurses about Fatima’s

serious medical condition. Ex. 25 at NEAL 903 (“[e]very day, on every shift,” she and the other

detainees told “nurses, guards, and other individuals that Fatima needed emergency medical help and

needed to go to the hospital.”); Ex. 102 at NEAL 897; Ex. 100 at NEAL 608-609; Ex. 98 at 34, 43-

44, 46-47, 49; Ex. 115 at WEXDISC 254-56; Ex. 126 at WEXDISC 4196; Ex. 125 at WEXDISC

2022; Ex. 114 at NEAL 900; Ex. 98 at 46, 17; Ex. 99 at NEAL 613; Ex. 127 at 147; Ex. 122 at 148;

Ex. 121at NEAL 1171; Ex. 103 at 7; Ex. 101 at NEAL 611; see also Ex. 136 at 150. And Ms. Neal

herself repeatedly told the Wexford doctors and nurses about her need for emergency medical

treatment. Ex. 114 at NEAL 899; Ex. 113 at NEAL 903; Ex. 121 at NEAL 1171.

       Wexford’s medical records—although incomplete and full of omissions and contradictions,

Dkt. 228 at 20-22, also contain admissions of Ms. Neal’s stroke symptoms. In her November 3

record, former defendant Nurse McNulty noted that Ms. Neal had “c/o [complained of] headache

10/10 this am[.]” Ex. 109 at 24. But just hours earlier, former defendant Dr. El-Sayed noted in her

medical record that Fatima had “[n]o complaints of headache this AM.” Ex. 109 at 21. In his

November 1 medical record, former defendant Dr. Afre wrote that PA Wiggins’s note documented

that Ms. Neal “was behaving [e]rratically.” Ex. 20 at 7. Yet there is no mention of erratic behavior

anywhere in Wiggins’s November 1 medical record. Ex. 109 at 4. Indeed, the vast majority of the

“findings” in Ms. Neal’s medical records were not findings at all; it was information that was

automatically populated by the electronic medical record system at the BCDC. Ex. 128 at 1-6; Ex. 25

at 468-473; Ex. 128 at 1-6; Ex. 38 at 254-261, 284-285. These documentation failures reflect a failure

to properly assess and document Ms. Neal’s symptoms, and prevented information about Ms. Neal’s


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condition from being communicated among medical staff, and most importantly, to the Wexford

physicians responsible for Ms. Neal’s care. Ex. 48 at 27.

        The undisputed evidence demonstrates that during her more than three days in the

infirmary, Ms. Neal received no treatment at all for strokes. Ex. 109 at 9, 16. And so, after three days

without any treatment for her strokes, Ms. Neal was found unresponsive at 12:25 a.m. on November

4, 2012.3 Ex. 103 at 12 (“Staff discovered her unresponsive at 0025 Hrs.”); id. at 2, 5, 10. Detainees

banged on the window to try to get former defendant Nurse Obadina’s attention, but she was

sleeping. Ex. 12 at 7, 8; see also Ex. 102 at NEAL 605; Ex. 110 at NEAL 897; Ex. 103 at 7; Ex. 98 at

78; Ex.8. Former defendants Nurses Atta and Jamal were called to help and came to the infirmary.

Ex. 103 at 6; Ex. 129 at 152; Ex. 130 at 153.

        Yet, Wexford’s medical staff waited until 3:43 a.m.—more than three hours later—to finally

call the paramedics. Ex. 131 at WEXDISC 003958. Why? Because Wexford’s nurses made a series

of phone calls to get permission to send Ms. Neal to the ER, but Wexford’s on-call and backup

doctors did not answer their phones. Ex. 120; at 191; Ex. 55 at NEAL 49859. It was only after a

supervising physician called back and approved the ER trip that 911 was called. Ex. 55 at NEAL

49859. Because of the enormous delay in sending her to the ER, the doctors there could not save

Ms. Neal and she was pronounced dead at 4:31 a.m. Ex. 56 at WEXDISC001163. The hospital

record noted that there had been a “long down time.” Id.

        Ms. Neal was set to be released from the BCDC on Monday, November 5, 2012, a fact

Wexford’s medical staff knew as documented in their own medical records. Ex. 137 at 137, 235-236;

Ex. 97 at 57. She died the day before her release.

        Dr. King, the medical examiner for the state of Maryland, conducted an autopsy and found

that Ms. Neal had suffered an initial stroke around the early morning hours of November 1. Ex. 106

        3 Defendants contend that Ms. Neal was found unresponsive later in the morning, but their view is
plainly contradicted by the record.

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at ¶¶ 5-10. Plaintiff’s experts—and now Defendants’ expert—agree that Ms. Neal had suffered an

initial stroke and was displaying the symptoms of that stroke over several days in the infirmary. Ex.

105 at 217; Ex. 107 at 3, 5; Ex. 116 at 1, 2; Ex. 108 at 4; Ex. 117 at 1-2; Ex. 51 at 2; Ex. 118 at 2.

Over the following three days, Ms. Neal suffered effects from that initial stroke, including

symptoms, subsequent strokes, and swelling that culminated in fatal brain herniation. Ex. 105 at 211;

Ex. 106 at ¶¶ 5-7, 9-10; Ex. 117 at 1; Ex. 108 at 3.

        In addition to the findings at autopsy, additional microscopic testing of Fatima’s brain tissue

revealed the presence of a cellular abnormality called macrophages, which confirms that Fatima

suffered an initial stroke at least 72 hours before her death. Ex. 119 at 97-98, 101-102; see also Ex.

119 at 79-81; Ex. 51 at 2, 6-8; Ex. 118 at 1-2, Ex. 57 at NEAL 013129, 13132-33. This objective

finding by Plaintiff’s neuropathologist expert is not disputed by Defendant’s expert. Ex. 32 at 29.

        After Ms. Neal’s death, DPSCS sent out a nurse named Bonnie Plimack to conduct a

morbidity and mortality review of the patient care provided to Ms. Neal. Ex. 132 at 5-6, 7-8. Based

on her review, Plimack concluded that Ms. Neal “should have been re-evaluated and sent out to the

hospital earlier.” Ex. 133 at 301. Carolyn Murray, an investigator from DPSCS’s Internal

Investigation Unit, interviewed a number of detainees on the morning of November 4 who reported

to her that Ms. Neal had been complaining about severe headaches, was projectile vomiting,

dragging one side of her body, urinating on herself, unbalanced and hitting her head, and was saying

things that indicated she was incoherent, disoriented and confused. Ex. 120 at 191; Ex. 104 at 8-9,

21. Murray believed that the detainees were telling the truth. Ex. 104 at 45-46. Ms. Murray had

concerns about Ms. Neal’s care and voiced her concerns to her supervisors. Id. at 77-78, 79, 81.

        The failure of Wexford’s doctors and nurses to send Ms. Neal to the emergency room at

numerous points between November 1 and November 4, 2012 was an egregious departure from the

standard of care. Ex. 107 at 3, 6; Ex. 116 at 2; Ex. 108 at 5; Ex. 48 at 27; Ex. 49 at 18-19.


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        The question is: why didn’t Wexford medical staff send to the ER a patient they knew was

displaying obvious symptoms of a stroke? The obvious answer is Wexford’s concerted campaign to

reduce ER trips. Ex. 48 at 27-28; 49 at 19. The failures in Ms. Neal’s case are consistent with the

policies and practices discussed above, and mirror the problems in many of the other deaths, CAPs,

and other findings discussed above. Id. Indeed, Wexford failed to send Ms. Neal to the ER even

though that was the only place where she could have been treated for her strokes. Ex. 48 at 27; Ex.

49 at 18-19. And even after Ms. Neal was found completely unresponsive, Wexford’s medical staff

still delayed sending Ms. Neal to the ER for hours while they waited for authorization from a

supervisor. Id.

        B.        Ms. Neal Likely Would Have Survived if She Had Been Sent to the ER at any
                  Point In the Days Before She Died

        After suffering an initial stroke in the early morning hours of November 1, Ms. Neal

survived for an additional three days despite receiving no treatment whatsoever. She survived,

despite the fact that early and aggressive intervention is crucial to avoiding poor outcomes, and for

that reason medical providers are trained to be on the lookout for stroke signs and symptoms (and

to err on the side of seeking urgent neurological evaluation). Ex. 108 at 6; Ex. 54 at 2. Logic dictates

that if Ms. Neal had been diagnosed and treated promptly, or at any point in the three days before

her condition deteriorated to the point that she was unconscious, she would have survived.

        The scientific evidence confirms this: applying a widely used algorithm for predicting

outcomes following intracerebral hemorrhage based on a patient’s age, size, and location of the

hemorrhage (among other factors), Ms. Neal had an 81-100% probability of functional

independence in 90 days. Ex. 54 at 2.4 Even after three days of neglect, Ms. Neal could have been


        4 It should be noted that this likelihood of a positive outcome is based on the size and other
characteristics of the hemorrhage after going untreated for three full days; the likelihood of a positive outcome,
given that early intervention improves outcomes, would likely have been even greater if her stroke had been
treated earlier. Ex. 39 at 163.

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saved if medical staff had acted promptly after she was found unresponsive at 12:25 a.m. In fact, at

3:22 a.m., even after a three-hour delay, Ms. Neal was still breathing and had a heart rate of 70,

blood pressure of 80/60, and with assistance her oxygen saturation was 90%. Ex. 109 at 30. But by

the time paramedics were finally called and arrived 30 minutes later, she had no vital signs: her pulse,

respiratory rate, blood pressure, and oxygen saturation were all reported as zero. Ex. 131 at

WEXDISC 003960.

        Strokes like the one Ms. Neal experienced can be treated in the hospital and people usually

survive. Ex. 108 at 5-6; Ex. 54 at 2; Ex. 39 at 163. The treatment for such strokes includes blood

pressure control, correction of bleeding disorders, and medication or surgical intervention to

prevent or minimize the expansion of the bleed and any related swelling. Ex. 108 at 5-6; Ex. 54 at 2.

As Wexford’s experts acknowledged, these treatment options work: people routinely survive

hemorrhagic strokes. Ex. 134 at 146–174 (withdrawn expert); Ex. 32 at 132-33 (current expert).

Indeed, Wexford’s current expert, Dr. Schwartz, admits that the survival rate for any of the potential

sequences of strokes Ms. Neal suffered are greater than 50%. Ex. 32 at 94-95, 97-98 (ischemic stroke

first, survival rates 70-97%), 100 (for someone under age 50 like Ms. Neal, if ischemic stroke first

survival rate greater than 90%), 122, 123 (hemorrhagic stroke first, survival rate 60%), 128

(hemorrhagic stroke first, survival rate greater than 60% given her young age), 138. And, he was

clear that he was not willing to opine based on the evidence that her chance of survival was less than

50% if she had been sent to the ER between three hours and three days earlier. Id. at 69, 131, 145.

                                            ARGUMENT

I.      Legal Standard

        “Summary judgment under Rule 56 of the Federal Rules of Civil Procedure is appropriate

only when the Court, viewing the record as a whole and in the light most favorable to the

nonmoving party, determines that there exists no genuine issue of material fact and that the moving


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party is entitled to judgment as a matter of law.” Clark v. Alexander, 85 F.3d 146, 150 (4th Cir. 1996)

(citing Celotex Corp. v. Catrett, 477 U.S. 317, 322-24 (1986)). The burden is on the moving party to

make such a showing. Dash v. Mayweather, 731 F.3d 303, 311 (4th Cir. 2013).

        “The evidence of the non-movant is to be believed, and all justifiable inferences are to be

drawn in [her] favor.” Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 255 (1986). Conflicting inferences

are always resolved in the non-movant’s favor, Jacobs v. N.C. Admin. Office of the Courts, 780 F.3d 562,

569 (4th Cir. 2015), and the Court draws inferences from “not only depositions but also

documentary materials in the light most favorable to the party opposing the motion,” Magill v. Gulf

& W. Indus., Inc., 736 F.2d 976, 979 (4th Cir. 1984). “Even if there is no dispute as to the evidentiary

facts, summary judgment is inappropriate if there is a dispute as to the conclusions to be drawn

from such facts.” Id. at 979. “Credibility determinations, the weighing of the evidence, and the

drawing of legitimate inferences from the facts are jury functions, not those of a judge . . . ruling on

a motion for summary judgment.” Anderson, 477 U.S. at 255; see also Tolan v. Cotton, 572 U.S. 650, 660

(2014). Plaintiff’s “version of any disputed issue of fact thus is presumed correct[.]” Eastman Kodak

Co. v. Image Technical Servs., Inc., 504 U.S. 451, 456 (1992). At this stage the Court asks “whether the

evidence presents a sufficient disagreement to require submission to a jury or whether it is so one-

sided that one party must prevail as a matter of law.” Anderson, 477 U.S. at 251-52.

        Plaintiff brings a 42 U.S.C. § 1983 claim against Wexford for denying Ms. Neal adequate

medical care at the BCDC, in violation of her constitutional rights. Plaintiff has brought § 1983

claim under both the Fourteenth Amendment, which protects the rights of pretrial detainees, and

the Eighth Amendment, which applies to post-conviction detainees, because there is a dispute of

fact regarding Ms. Neal’s status at the time of her death. Kingsley v. Hendrickson, 576 U.S. 389, 400

(2015). This Court previously noted the dispute in its earlier decision adjudicating summary




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judgment on Plaintiff’s claims against the individual defendants. Bost v. Wexford, 2018 WL 3539819,

at *4, 23-24, Dkt. 430 at 7, 46-47 (D. Md. July 23, 2018).

        The standard for claims brought under the Eighth Amendment is well settled: a plaintiff

must establish that she had an objectively serious medical need, and that the defendant was

deliberately indifferent to that need. Scinto v. Stansberry, 841 F.3d 219, 225 (4th Cir. 2016). But the

standard for claims brought under the Fourteenth Amendment is less clear. Courts used to apply the

same deliberate indifference standard to claims brought by pretrial detainees. But in Kingsley, the

Supreme Court held that use-of-force claims brought by pretrial detainees were governed by an

objective standard, requiring the plaintiff to show only that the use of force was objectively

unreasonable. 576 U.S. at 396-97. Several circuits have applied Kingsley to require an objective

standard on denial of medical care claims by pretrial detainees. See, e.g., Brawner v. Scott Cty., 14 F.4th

585, 592 (6th Cir. 2021); Charles v. Orange Cty., 925 F.3d 73, 87 (2d Cir. 2019); Gordon v. Cty. of Orange,

888 F.3d 1118, 1124 (9th Cir. 2018); Miranda v. Cty. of Lake, 900 F.3d 335, 352 (7th Cir. 2018).

        The Fourth Circuit has not yet definitively weighed in on Kingsley’s impact on the standard.

Mays v. Sprinkle, 992 F.3d 295, 301 (4th Cir. 2021); see also Michelson v. Coon, 2021 WL 2981501, at *3

(4th Cir. July 15, 2021). This Court need not resolve the issue here either because Wexford’s motion

for summary judgment should be denied under either standard. Indeed, this Court previously

determined that a reasonable jury could determine that Ms. Neal’s death was the result of deliberate

indifference to her serious medical need. Bost, 2018 WL 3539819, at *57, Dkt. 430 at 113.

        The Fourth Circuit has held that to hold Wexford liable under § 1983, Plaintiff must satisfy

the standards set forth by the Supreme Court in Monell v. Department of Social Services of New York, 436

U.S. 658 (1978). Rodriguez v. Smithfield Packing Co., 338 F.3d 348, 355 (4th Cir. 2003); Powell v. Shopco




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Laurel Co., 678 F.2d 504, 506 (4th Cir. 1982).5 Under Monell Plaintiff can prevail on her claim against

Wexford if she proves that Ms. Neal’s constitutional deprivation was caused by one of four things:

(1) the implementation or execution of an express policy; (2) a widespread practice that, although

not expressly authorized by policy, is so permanent and well settled as to constitute a custom; (3) the

actions of a person within the corporation with final policymaking authority; or (4) an omission, like

the failure to enact policies or train staff, that “manifest[s] deliberate indifference” to prisoners’

constitutional rights. Lytle v. Doyle, 326 F.3d 463, 471 (4th Cir. 2003); see also Carter v. Morris, 164 F.3d

215, 218 (4th Cir. 1999); Spell v. McDaniel, 824 F.2d 1380, 1385-86 (4th Cir. 1987). A reasonable jury

could find that Plaintiff has established Wexford’s liability on each of the four Monell theories.

Summary judgment should accordingly be denied.

II.      A Jury Could Reasonably Conclude that Wexford Had a Widespread Practice of
         Denying Necessary Emergency Care that Caused Ms. Neal’s Death

         Corporate liability may be established under § 1983 for a constitutional violation that is

caused by a persistent and widespread practice that “has not received formal approval through the

corporation’s official decisionmaking channels” but is sufficiently permanent and well settled as to

constitute a “custom or usage with the force of law.” Monell, 436 U.S. at 690-91 (cleaned up); Spell,

824 F.2d at 1390 (widespread practice theory permits imposition of liability for practice that is

widespread even though it is “not sufficiently traceable in origin to any fault of municipal

policymakers”). To prevail, a plaintiff must present evidence of a “persistent and widespread

practice of municipal officials, the duration and frequency of which indicate that policymakers (1)

had actual or constructive knowledge of the conduct, and (2) failed to correct it due to their

deliberate indifference.” Owens v. Baltimore City State’s Attorney's Office, 767 F.3d 379, 402 (4th Cir.

         5 Federal courts have recently expressed skepticism about the application of Monell to a § 1983 claim

against a corporation. See, e.g., Shields v. Ill. Dep’t of Corr., 746 F.3d 782, 790-96 (7th Cir. 2014); Shehee v. Saginaw
Cty., 2015 WL 58674, at *7 (E.D. Mich. Jan. 5, 2015). Notably, the Supreme Court has never weighed in on
the applicability of Monell in this context. Shields, 746 F.3d at 794. But given Fourth Circuit precedent, Plaintiff
concedes that this Court is currently bound to apply Monell.

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2014) (cleaned up) (citing Spell, 1386-91). “[C]onstructive knowledge of such a custom and usage

may be inferred from the widespread extent of the practices, general knowledge of their existence,

manifest opportunities and official duty of responsible policymakers to be informed, or

combinations of these.” Randall v. Prince George’s Cty., 302 F.3d 188, 210 (4th Cir. 2002); Owens, 767

F.3d at 402-03.

        A.        Wexford Had a Widespread Practice of Denying Necessary ER Care

        There is no bright-line rule as to how many other incidents of misconduct will suffice to

establish a widespread practice, although courts appear to agree that three or four other incidents are

insufficient. Thomas v. Cook Cty. Sheriff’s Dep’t, 604 F.3d 293, 303 (7th Cir. 2010); Cipolloni v. City of

New York, 758 F. App’x 76, 79 (2d Cir. 2018); Castro v. McCord, 259 F. App’x 664, 669 (5th Cir.

2007); see also Saltz v. City of Frederick, 2021 WL 1856636, at *32 (D. Md. May 10, 2021) (collecting

cases). The Fourth Circuit has held that while isolated incidents are not sufficient, summary

judgment should be denied if there are “numerous particular incidents” of other constitutional

violations. Lytle, 326 F.3d at 473 (citing Kopf v. Wing, 942 F.2d 265, 269 (4th Cir. 1991); see also Owens,

767 F.3d at 403. And other evidence—including testimony from the corporation’s employees, expert

opinion testimony, and documentary evidence that wrongdoing is not taken seriously—may also be

used to help establish a widespread practice. See, e.g., Kopf, 942 F.2d at 269; J.F. v. Correct Care

Solutions, LLC, 2019 WL 1057401, at *12 (D. Md. Mar. 6, 2019); see also Daniel v. Cook Cty., 833 F.3d

728, 736 (7th Cir. 2016); Montano v. Orange Cty., 842 F.3d 865., 875-76 (5th Cir. 2016).

                  1.     Wexford denied necessary ER care to numerous other patients similar to Ms. Neal

        Plaintiff has adduced a wealth of evidence that would permit a reasonable jury to conclude

that Wexford maintained a widespread practice of denying and delaying necessary and emergency

offsite care. Plaintiff’s expert, Dr. Herrington, reviewed medical records or administrative records

reflecting medical treatment of 24 other patients incarcerated within DPSCS between 2010 and


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2016,6 and found 19 separate cases (in addition to Ms. Neal’s case) in which the patients’ care was

woefully inadequate. Plaintiff has set forth a discussion of each of those cases above. See supra at

§ I.D.2. In his report, Dr. Herrington thoroughly discussed the relevant medical history in each case

and identified inadequacies similar to Ms. Neal’s case: unacceptable denials and delays in sending

patients to the ER, a failure to document and communicate changes in the patient’s condition, or a

failure to diagnose and/or treat signs of a possible neurological event. Ex. 48 at 5-18. In his report,

Dr. Herrington opined that the 19 cases reflect repeated failures to timely send patients to the ER

and other offsite care, and offsite neurological care in particular. Ex. 48 at 18.

         Dr. Herrington’s opinions regarding those 19 incidents, and the widespread practice they

reflect, is itself sufficient to meet Plaintiff’s burden at summary judgment. Lytle, 326 F.3d at 473

(“numerous particular instances” can establish a custom or practice); Awalt v. Marketti, 74 F. Supp.

3d 909, 938-39 (N.D. Ill. 2014) (denying summary judgment on widespread practice claim based on

evidence that nine other detainees were denied adequate medical care, including three with issues

similar to plaintiff). Plaintiff has adduced far greater evidence of the widespread practice of delaying

and denying necessary offsite care, including Wexford’s own affirmative efforts to foster and

encourage the practice.

                  2.       Wexford’s own documents and emails betray its widespread practice of intentionally denying
                           ER care, despite the known and obvious risk

         When Wexford took over the direct patient care contract in July 2012, it immediately

subordinated CQI to UM, and thus subordinated quality to cost-cutting goals. See supra § I.A.1.7

Wexford then immediately sought large, across-the-board cuts in ER referrals across all sites. See


         6 The 24 cases provided to Dr. Herrington primarily concerned deaths that occurred between 2010-
2014, although Plaintiff was able to obtain a handful of additional records outside of that limitation based on
incidental production of records.
         7 Wexford’s policy to reduce ER visits across the board is also an express policy that is an

independent basis to impose liability against it, as discussed in detail below. See infra Arg. § III. But it is also
relevant to Plaintiff’s widespread practice claim.

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supra § I.C. At the time, Wexford was already highly knowledgeable about the medical care

operations in DPSCS facilities because it had been operating as UM contractor since June 2005. In

that role, Wexford created an ER Visit Reduction Program for the Baltimore region to reduce ER

visits.8 Ex. 4 at WEXDISC 20923-31. As discussed above, Wexford quickly expanded the program

into a widespread effort to reduce ER visits across the board statewide. See supra § I.C.

         Indeed, once Wexford took over as the sole medical contractor, the financial arrangement

for treating DPSCS detainees changed dramatically. Unlike the prior contract where DPSCS bore

the cost of offsite care, Wexford was now responsible for the full cost of ER trips. See supra § I. The

scope and scale of Wexford’s ER reduction efforts grew commensurately with its immense financial

incentive to cut ER costs. See supra § I.C.

         Upon becoming the sole medical contractor, Wexford issued a new UM policy that required

nursing staff to obtain approval from a physician prior to referring patients to the ER for emergency

care.9 See supra § I.B. Wexford disseminated its new UM policy to its employees and trained them on

it. Ex. 31 at 60-61. As described in detail above, the policy was acting as intended: extensive

documents and correspondence reveal a constant drumbeat to reduce ER trips. See supra §§ I.C.3,

I.C.5.

         Wexford’s corporate designee, Dr. Smith, and its correctional healthcare expert, Dr. Joshua,

both admitted that efforts like those described above to reduce ER visits across the board would

present a known risk to patient health and safety, especially if not accompanied by a meaningful

influx of resources and services to facilitate adequate treatment of patients on site, and robust quality

         8Wexford disputes that it created the ER Visit Reduction Program. Plaintiff has elsewhere discussed
the wealth of evidence that undercuts Wexford’s denial of involvement in the program, including the fact that
it appears in an annual report authored by Wexford and discusses a UM initiative during Wexford’s tenure as
UM contractor. See supra §§ I.B, I.F; see infra Arg. § III.B. It is for a jury to resolve these disputes, and not this
Court on summary judgment, which must credit Plaintiff’s evidence and facts.

         9This written policy is also an independent basis upon which Plaintiff may hold Wexford liable, as
discussed in detail below. See infra Arg. § III. It, too, remains relevant to Plaintiff’s widespread practice claim.

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control measures to ensure the quality of care was not compromised. Plaintiff’s expert, Dr. Keller,

further explained that any such efforts to reduce ER trips was inherently dangerous if not narrowly

focused on those ER trips that were not for true or suspected emergencies. But Wexford’s efforts to

reduce ER trips across the board was not limited in any such way, and Wexford provided no

additional resources or services to increase the ability or capacity for its employees to provide

adequate services on site. See supra § I.C.2.

        B.      Plaintiff’s Evidence Establishes That Wexford Knew the Obvious Risks to
                Patient Welfare Posed by its Widespread Practice

        Wexford knew that its widespread practice put patients’ lives at risk. The widespread nature

of the practice, discussed above, itself establishes constructive notice. See Randall, 302 F.3d at 210;

Owens, 767 F.3d at 402-03. Wexford’s internal correspondence reveals it had also had actual notice,

and moreover, the risk was both known and obvious. See supra §§ I.C, I.D, I.E, I.G.

        Perhaps most egregiously, Wexford knew when it took over the contract in July 2012 that

there were very few ER trips (less than 2%) that could be safely eliminated. See supra § I.C.2.

Wexford also knew that ER visits in the Baltimore region had already been reduced significantly in

the months before Wexford took over the contract, and its own data reflected a trendline reduction

in ER trips of 80% between April 2011 and March 2012. See supra § I.C.2. Yet without making any

efforts to determine what, if any, harm patients had already suffered from Wexford’s ER reduction

efforts and without addressing the known and obvious risk of harm that patients would face from

further efforts, Wexford simply expanded the program. See supra § I.C.2.

        Indeed, Wexford was already on notice that its ER reduction efforts had resulted in adverse

patient outcomes. During its tenure as UM contractor prior to July 2012, Wexford had full access to

patient data and participated in the oversight of patient care and offsite usage, including

retrospective reviews of ER trips, death reviews, CQIs, and CAPs. See supra at §§ I.E, I.G. Wexford

was thus aware of numerous deaths and other adverse medical events that occurred as a result of

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delays or failures in sending the patient to the ER, even before it took over the contract in July 2012.

Id. (discussing pre-July 2012 examples of delays and denials of ER care).

        Dr. Herrington has detailed examples of the deaths and adverse medical events made known

to Wexford as its policy to reduce ER visits was being implemented. See supra § I.D.2; Ex. 49 at 5-18.

Based on his review, Dr. Herrington believes there were an even greater number of adverse medical

events that were not produced to Plaintiff in this case. Ex. 49 at 18. (Wexford did not produce any

clinical medical records). When Wexford took over direct patient care, deaths increased dramatically,

based on multiple metrics, even as the total number of individuals in DPSCS custody decreased.

Wexford’s own Director of Operations noted the sharp increase in deaths after Wexford

implemented its aggressive ER reduction efforts. See supra § I.E; Ex. 41.

        Wexford was also notified of the dangers its policies and practices were presenting to patient

health and safety in Maryland through CAPs. Randall, 302 F.3d at 210. Following the death of C.R.,

for example, Wexford admitted in a CAP specifically addressing C.R.’s death that C.R.’s stroke

symptoms should have caused an immediate ER referral, and that his death had been caused by a

substantial delay in sending the patient to the ER. Dr. Herrington discusses multiple other CAPs

that raised similar and related issues before Ms. Neal’s death. See supra § I.D.4.

        Notably, Wexford’s contract with DPSCS was not the first time Wexford had attempted to

aggressively reduce ER and other offsite visits. It took similar actions in numerous other states and

counties, with harmful effects that were—again—known and obvious. See supra § I.G.2.

        Plaintiff has presented ample evidence of actual and constructive notice to Wexford of a

widespread practice with deadly consequences.

        C.      Wexford Was Deliberately Indifferent to the Known and Obvious Risks of its
                Widespread Practice

        A jury could easily conclude that Wexford’s response to the known risks posed by its

practices evinced deliberate indifference. At no point did Wexford take action to mitigate the

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increase in patient deaths or other negative patient outcomes. Instead, Despite Wexford’s own

finding that there were very few unnecessary ER trips, Wexford persisted in its efforts to reduce ER

visits across the board without modification, and far beyond its stated goals—an obvious and known

danger to patient health and safety, by Wexford’s own admission. Its processes and practices placed

relentless pressure on medical staff to reduce ER visits. Among other things, Wexford senior

management convened daily calls in which each ER referral had to be justified, and costs regarding

each referral were circulated in advance; and evaluated medical staff, including Ms. Neal’s primary

physician, on their “cost effectiveness,” including their ability to reduce ER trips. See supra at § I.C.

        Wexford leadership also celebrated with sitewide emails when there were long stretches

without any ER trips, even when those periods were so long it raised obvious questions about

negative patient outcomes. See supra §§ I.C.3, I.E. As one example, in August and October of 2012,

Dr. Tessema emailed Wexford staff, celebrating a long period without any ER trips. Dr. Getachew

attributed this to regional management’s “laser focus on ER runs,” which was “showing significant

reduction in UM” in the Baltimore pretrial region. Ex. 42 at WEXDISC 24338. Remarkably, this

message was sent just days after Wexford determined that C.R.’s death had been caused by a delay in

sending him to the ER. Id. Wexford’s Director of Operations openly observed that had been a

noticeable increase in deaths. See supra § I.E. Dr. Herrington identified numerous cases where

Wexford’s efforts to reduce ER visits had fatal consequences; Wexford’s expert and Wexford’s own

CAPs agreed with Dr. Herrington’s conclusion that there were denials and delays in ER care. See

supra §§ I.D.2-I.D.5. Yet, there was no training based on these known failures, and Wexford’s ER

reduction efforts continued unabated. See infra Arg. §§ IV.




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        Ultimately, Wexford made no efforts to ensure that its widespread practice of reducing ER

runs—with known and obvious risks—was not causing negative consequences.10 To the contrary, it

continued to subordinate CQI to UM goals, co-opting employees like Donna James, who was

supposed to be overseeing quality control efforts. Ex. 21 at 15-16, 17-19. And even when Wexford

achieved ER reductions far beyond its stated goals, it did nothing to ensure that they were not

compromising patient safety, a course of actions the parties’ experts agree is wildly reckless. See supra

§§ I.C.2-1.C.4. Wexford’s deliberate indifference is well established by the record.

        Finally, there is also ample evidence from which a jury could conclude that Wexford’s

widespread practices were the moving force behind the violation of Ms. Neal’s constitutional rights.

The Fourth Circuit has held that a plaintiff has met her burden to establish causation on a

widespread practice claim “if occurrence of the specific violation was made reasonably probable by

permitted continuation of the custom[,]” Spell, 824 F.2d at 1391, and the Supreme Court has made

clear that causation is an issue for the jury. City of Canton v. Harris, 489 U.S. 378, 391 (1989).

Wexford’s widespread practice of denying and delaying offsite and emergency care shares a close

factual relationship with what happened in Ms. Neal’s own case, and a jury could easily find that the

widespread practice was the moving force of Ms. Neal’s death. See supra § II.

        D.       Wexford Does Not Meaningfully Address Plaintiff’s Substantial Evidence of a
                 Widespread Practice

        For the thousands of pages of documents produced in this case, Wexford cites a total of

four documents in its motion. In other words, it ignores the reams of widespread practice evidence

produced in this case, and then asks the Court to conclude that there are no disputes of fact. That is

          10 Wexford contends that Plaintiff’s assertion that it did not implement the safeguards it knew were

necessary to protect patient health and safety is “without evidence.” Def. Br. at 17. But as detailed in
Plaintiff’s statement of facts, there is a wealth of evidence to this effect, including testimony from Wexford’s
senior management, email correspondence between Wexford employees, and other documentary evidence
showing that Wexford cared solely about reducing ER visits, even when problems were identified. The
opinions of Plaintiff’s experts are thus reliable and amply supported by the record, as discussed in more detail
below. See infra Arg. § V.

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not appropriate at summary judgment.11 Wexford instead simply states in conclusory fashion that the

19 other incidents identified and discussed by Dr. Herrington is “hardly sufficient” to establish a

widespread practice. Def. Br. at 23. Notably, Wexford does not argue that 19 other incidents is

insufficient as a matter of law, nor could it. See Awalt, 74 F. Supp. 3d at 938-39; Kopf, 942 F.2d at

269. They have thus forfeited that point. A Helping Hand, LLC v. Baltimore Cty., 515 F.3d 356, 369

(4th Cir. 2008). Wexford instead argues that the 19 other incidents are insufficient because there

were lots of detainees in Maryland. But the numbers that Wexford cites are misleading.

        Because of the limitations that this Court set regarding the temporal and topical scope of

discovery in this case, Plaintiff was given access to case-related documents for only 193 patients (the

majority of which were not medical records, but death reviews and other investigatory documents).

Ex. 53 at 3.12 Of those 193 patients, Plaintiff received medical records for just 47 patients. Ex. 53 at

3; Ex. 94. Dr. Herrington reviewed medical records for more than half of those patients and found

significant problems in 19 of them, i.e. 79% of cases, nearly all relating to failing to recognize

neurological conditions or timely send patients to the emergency room. See supra § I.D.2; Ex. 48 at 5-

18. Dr. Herrington’s identification of significant lapses in care in 19 out of 24 cases he reviewed thus

represents 40.5% of the total number of patients whose medical records were produced in discovery

(47) and nearly 10% of the total number of cases for which some form of documentation (however




          11 Notably, Wexford successfully sought strict limits on the scope of discovery in this case, permitting

Plaintiff to obtain discovery only on the provision of emergency care between 2010-2014. Dkt. 499 at 26. The
meaningful limitation on Plaintiff’s discovery placed at Wexford’s request defeats any assertion by it that
Plaintiff’s evidence is merely scattershot accusations of unrelated conduct.
          12 This access came exclusively from the DPSCS, as Wexford had relinquished custody of all records

without notifying Plaintiff or otherwise taking steps to fulfill its obligations to retain documents in its
possession, custody, or control during the pendency of civil litigation. Dkts. 477-2, 477-12. This is particularly
troubling given that Wexford had previously sought and obtained a stay of Plaintiff’s federal claims against it
via bifurcation of the case, Dkt. 159 at 27, and yet still said nothing despite knowing that it was losing custody
of documents centrally relevant to those claims. See Hodge v. Wal-Mart Stores, Inc., 360 F.3d 446, 450 (4th Cir.
2004) (discussing spoliation of evidence).

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limited)13 was available. Ex. 53 at 3. Dr. Keller opined that every one of these figures is unacceptably

high; thus, even if one were to assume that Dr. Herrington reviewed the records for all 193 patients

and concluded the care was perfect in every case other than the 19, the resulting 10% rate of

substandard care is itself disturbingly high. Ex. 53 at 3.

        Wexford also cites statistics about the total number of encounters between patients and

medical staff. But as Dr. Keller further explained, the reference to gross totals of infirmary

admissions, specialty referrals, and ER referrals is meaningless because Plaintiff did not have access

to information about the quality of care provided to those individuals and Wexford took no effort to

obtain any such information, even while it had possession of all such information. Ex. 53 at 3; Hodge,

360 F.3d at 450. Indeed, Wexford successfully argued for an order prohibiting discovery on these

topics. Dkt. 480 at 2; Dkt. 499 at 26. It would be highly prejudicial to permit Wexford to use at

summary judgment information and statistics about medical care that Plaintiff was never entitled to

discover. See Saltz, 2021 WL 1856636, at *11.

        Additionally, both Plaintiff’s and Wexford’s experts agree that a review of 24 cases is a

sufficient sample in the field of correctional healthcare from which to reach an opinion about

whether or not Wexford maintained a problematic pattern or practice. Dr. Fowlkes admitted that a

review of 24 cases was an adequate sampling, Ex. 33 at 214, although he differed from Dr.

Herrington as to his conclusion. Yet even then, he admitted that in at least 6 of the 24 cases, he too

concluded there was a meaningful delay in referring the patient to the ER. See supra § I.D.3.

        Wexford’s remaining arguments on Plaintiff’s widespread practice claim focus on attacking

Plaintiff’s experts and arguing about factual differences between Ms. Neal’s case and the 19 other




        13 The records, for example, included death summaries of individuals who died by homicide
following an attack, without any indication of the adequacy of their medical care either before or after the
attack.

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incidents that Dr. Herrington discusses. Wexford’s attacks on Plaintiff’s experts should be rejected

for the reasons set out in Section IV below.

        Wexford also argues that any cases that occurred before July 2012 cannot be attributable to

Wexford as part of Plaintiff’s widespread practice claim. Def. Br. at 24. But a reasonable jury could

disagree. Wexford had nearly complete access to information about patient care and quality of care.

See supra §§ I.E, I.G; Randall, 302 F.3d at 210. Despite that notice, when Wexford took over as the

sole medical provider in July 2012, it simply rehired nearly all of the same staff who had previously

worked for Corizon for the same positions. Ex. 31 at 44-45; Ex. 34 at 76, 89. Wexford made no

changes to the daily practices that medical staff followed once Wexford took over; their jobs stayed

basically the same. Ex. 31 at 46-50; Ex. 29 at 6-9. Indeed, throughout the period Wexford had the

direct patient care contract, the policies and practices remained virtually the same (except for the

gatekeeper requirement added to Wexford’s UM policy). Ex. 29 at 7-9; Ex. 31 at 48. A reasonable

jury could thus fairly attribute pre-July 2012 incidents to a known and ongoing practice that

Wexford was deliberately indifferent in failing to address. Spell, 824 F.2d at 1390.

        Wexford’s remaining quibbles about various factual differences between Ms. Neal’s case and

the other cases discussed by Dr. Herrington are no basis to grant summary judgment.14 For example,

Wexford notes that some of the cases involved emergent medical needs due to cardiac issues rather

than stroke. And for one of the stroke cases, E. Ho., Wexford notes that he (unlike Ms. Neal) had a

history of elevated blood pressure, although Wexford offers no explanation as to why this renders E.


        14  Wexford argues that four of Dr. Herrington’s cases may not be considered either because the
patient was primarily under the care of mental health providers (F.R.) or because Dr. Herrington did not
expressly cite a delay/denial of referral to an ER as an issue in his report (M.G., R.A., and J.M.). As to F.R.,
the issues that Dr. Herrington identified related to medical care provided by Wexford nurses and not mental
health care. Ex. 146 at NEAL 44455 (noting that nurse and physician in the medical clinic were notified of
obvious signs of medical emergency but directed mental health staff to simply continue monitoring patient
without referral to the ER). As to M.G., R.A., and J.M., as discussed above, see supra § I.D.2, Dr. Herrington
explained how the issues he identified in those cases led to delays and denials in offsite and emergency care. A
reasonable jury could credit that explanation and find that the cases support Plaintiff’s claim.

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Ho.’s case so vastly dissimilar that it may not be considered as a matter of law. Simply put, these

differences are at best an argument for Wexford to make to the jury and not a basis for summary

judgment. Howell v. Wexford Health Sources, Inc., 987 F.3d 647, 656-57 (7th Cir. 2021) (noting that

when providing evidence of other incidents in support of a Monell widespread practice claim, “the

comparator need not be perfect[,]” and analogizing to employment discrimination claims). Plaintiff

has provided sufficient evidence of a widespread practice maintained and encouraged by Wexford,

and certainly known by it to have dangerous consequences for patient health and safety.

                                              *       *        *

        In sum, Plaintiff has amassed ample evidence establishing that the elements of a widespread

practice claim have been met, and that summary judgment on this claim should be denied.

III.    A Jury Could Reasonably Conclude that Wexford’s Express Policies Caused Ms.
        Neal’s Death

        A corporation or municipality may also commit a constitutional violation through an express

policy. As the name suggests, the express policy theory permits a plaintiff to hold a corporation

liable for a constitutional violation that is caused by one of the corporation’s “formal rules or

understandings—often but not always committed to writing—that are intended to, and do, establish

fixed plans of action to be followed under similar circumstances consistently and over time.”

Pembaur v. City of Cincinnati, 475 U.S. 469, 480-81 (1986); Semple v. City of Moundsville, 195 F.3d 708,

712 (4th Cir. 1999). Under this type of claim, a single application of the policy that causes a

constitutional violation is sufficient to establish liability. City of Oklahoma City v. Tuttle, 471 U.S. 808,

822 (1985); Monell, 436 U.S. at 690. Wexford maintained two express policies that played a causal

role in the violation of Ms. Neal’s constitutional rights: (1) its UM policies, UM-001 and UM-002,

which governed ER referrals after hours; and (2) its across-the-board reduction in ER trips.




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        A.       Wexford’s Utilization Management Policies Caused a Fatal Delay in Sending
                 Ms. Neal to the Emergency Room

        As discussed in detail above, when Wexford took over direct care in July 2012, it issued a

new UM policy. The plain language of that policy (provisions UM-001 and UM-002) required

nursing staff to obtain approval from a supervising physician prior to referring patients to the ER

for emergency care.15 A critical change in the policy’s language is especially telling: the clear direction

in the old UM policy that “[u]rgent and emergent referrals are automatic approval as to not delay any

care” was removed. See supra § I.B. Furthermore., multiple Wexford employees testified that the policy

of requiring physician approval before calling 911 for a patient to be taken to the ER was, in fact, in

effect during the relevant time frame. See supra § I.B; see also Jackson v. City of Cleveland, 925 F.3d 793,

830-34 (6th Cir. 2019).

        There is no dispute that UM-001’s and UM-002’s requirement for nursing staff to obtain

physician approval before calling 911 was dangerous and posed an obvious risk of substantial harm

to detainees like Ms. Neal; Wexford’s corporate designees, supervisors, and experts all agree. See

supra § I.B. And there can be no dispute that the policy is attributable to Wexford. See supra § I.B.

Similarly, there can be little dispute that a reasonable jury could find that the policy caused a fatal

delay in referring Ms. Neal to the ER. Because of Wexford’s express policy requiring physician

authorization before calling 911, the nurses who discovered Ms. Neal unresponsive nevertheless

waited for more than three hours to call 911 because they were initially unable to get in touch with

the physician who was designated as being the on-call gatekeeper. See supra § II. Plaintiff has further

adduced sufficient evidence, including from Wexford’s own experts, to permit a jury to conclude



          15 In its brief, Wexford makes no mention of UM-001 and UM-002, acting as if they do not exist.

Wexford has thus forfeited any argument that it might have made on this claim. See Russell v. Absolute Collection
Servs., Inc., 763 F.3d 385, 396 n.* (4th Cir. 2014) (citing Eriline Co. v. Johnson, 440 F.3d 648, 653 n.7 (4th Cir.
2006)). It will be too late to raise any argument on this theory for the first time in reply. A Helping Hand, LLC,
515 F.3d at 369.

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that Ms. Neal would have likely survived but for this three-hour delay, which was thus a cause of her

death. See supra § II.B. Summary judgment should therefore be denied.

        B.      Wexford’s Policy to Reduce ER Trips Across the Board Caused a Violation of
                Fatima Neal’s Constitutional Rights

        Independently, Wexford also implemented a policy to reduce ER trips across the board,

across all sites (including the BCDC) and without limitation to particular medical conditions.

Pembaur, 475 U.S. at 480-81 (official policy refers to rules, “often but not always committed to

writing” intended to “establish fixed plans of action”). Wexford argues in its brief that it did not

promulgate such a policy, and that to the extent it did DPSCS is responsible—an argument that

contradicts the law and requires the Court to draw factual inferences in Wexford’s favor. Plaintiff

discusses the policy at issue before turning to Wexford’s arguments below.

        Wexford articulated its policy initially in its proposal to the State of Maryland, guaranteeing

a 10% reduction in all offsite visits, including ER visits. It made this guarantee despite its awareness,

through its role as UM contractor for several years before taking over all medical care, that less than

2% of ER trips were unnecessary. See supra §§ I.C.1, I.C.2.

        When Wexford took over all medical care in July 2012, it immediately began to implement

its policy to reduce ER trips across the board. The policy applied across all sites, to all categories of

conditions, and was not supported by any commensurate expansion of on-site capabilities or

auditing to ensure the policy was not producing negative patient outcomes. See supra §§ I.C.3, I.C.4.

        Wexford administrators, in both the Baltimore Pretrial Region and throughout the state,

routinely reported that the ER reduction policy was proving successful, and that ER trips remained

low. See supra § I.C.2; Ex. 60 at WEXDISC 26092-93. Those reports continued throughout the 2012-

2014 timeframe, and none of those reports indicated the policy was limited to discrete medical

issues. See supra § I.C. To the contrary, at least one CQI report made clear that Wexford’s policy was



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designed to “[m]inimize the number of ER runs for the month” and to instead “[h]ave emergent

cases seen on site.” Ex. 7 at WEXDISC 28546.

        As discussed above, the policy remained in effect even as there were known delays in ER

referrals. See supra § I.C.3; Ex. 139 at WEXDISC 25963 (response to concern of “time delay in

responding to emergencies” with goal of lowering ER runs to “less than 20 monthly”). Wexford’s

policy was obviously dangerous, and indeed both Wexford and its expert agreed that such efforts

were highly dangerous if not accompanied by a commensurate increase of resources to provide

adequate treatment onsite, as well as robust quality control oversight. See supra § I.C.4. Despite this

knowledge, Wexford persisted in the policy, and a jury could reasonably conclude it was thus

deliberately indifferent to the well-being of patients under its care.

        A jury could also reasonably conclude that Wexford’s policy to reduce ER visits across the

board caused the denial and delay of an ER referral in Ms. Neal’s own case. Indeed, the causal

connection between Wexford’s policy and the facts of Ms. Neal’s case could not be closer. As this

Court previously noted, a jury could conclude that Ms. Neal required referral to an ER on

November 1, when she was instead admitted to the infirmary for observation with a noted release

date of November 5. Bost, 2018 WL 3539819, at *26-27, Dkt. 430 at 53. On the whole, the jury

could thus reasonably conclude that the failure was the reasonably probable result of Wexford’s

policy to reduce ER visits across the board.16 Spell, 824 F.2d at 1390.

        In its motion, Wexford attempts to confine its policy to a single document—the “ER Visit

Reduction Program”—that it contends was written by Corizon, was limited to three unrelated

medical conditions, and ended more than a year before Ms. Neal’s death. Def. Br. at 10. But as

         16 Wexford argues that Plaintiff has failed to establish causation because some of its employees

denied the existence of a policy to delay or deny emergency care. But such denials nearly always exist in cases
where the facts are as hotly disputed as this one. The relevant question for this Court is whether, crediting all
of Plaintiff’s evidence and taking all reasonable inferences in her favor, a jury could reasonably conclude that
Wexford’s policy did exist and caused Ms. Neal’s death. Kovari v. Brevard Extraditions, LLC, 461 F. Supp. 3d
353 371-72 (W.D. Va. 2020). The answer is yes.

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discussed in detail above, Wexford’s factual contentions about the policy are plainly disputed by the

evidence in the record. See supra §§ I.B, I.C.2, I.C.3; Ex. 4 at WEXDISC 20923-30.

        Even if Corizon had initially drafted the policy—and Wexford has presented no evidence

that it did— the ER Visit Reduction Program was promulgated and published in a CQI annual

report after Wexford replaced Corizon as the sole medical care contractor in July 2012, and thus the

policy is fairly attributable to Wexford. Notably, this would be the case even if Wexford had not

altered a single word in the policy. See Awalt, 74 F. Supp. 3d at 940-41; King v. Kramer, 680 F.3d 1013,

1020-21 (7th Cir. 2012). Of course, Plaintiff’s claim is not limited to the text contained within

Exhibit 4. Instead, Plaintiff’s express policy claim is based on Wexford’s policy to reduce ER visits

across the board throughout DPSCS sites when it took over the contract in July 2012—a policy

repeated over and over in CQIs, emails and other documents. See supra § I.C; see also Jackson, 925

F.3d at 830-34 (jury was required to decide whether a city’s express policy caused plaintiff’s

constitutional violation, in light of the context and testimony regarding the policy). And the evidence

clearly establishes that that policy was promulgated and implemented by Wexford.

        Wexford argues generally that it had no authority to make policy on any subject, no matter

the context, because of its contractual relationship with the DPSCS and thus had no policies in place

in the State of Maryland during any point. Def. Br. at 12-14. But the evidentiary record, which

Wexford all but ignores, would easily permit a reasonable jury to find that Wexford was not only

able but affirmatively required to promulgate and implement policies for its employees to follow.

        Wexford’s contract with the DPSCS presumed that Wexford would promulgate and

implement policies, providing for a procedure in the event that Wexford’s policies “conflict[ed]”

with the policies of DPSCS. Ex. 138 at WEXDISC 333-34. Wexford’s Rule 30(b)(6) designee, Dr.

Neil Fisher, admitted that the UM policies (which contain UM-001 and UM-002) comprised

“Wexford’s policies and procedures [that] were related to [UM]” in Maryland, Ex. 36 at 33-34, and


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Dr. Baucom noted that Wexford had an emergency care policy that was separate and distinct from

an emergency care policy promulgated by the DPSCS. Dr. Baucom’s view was that DPSCS’s role

was to set broad guidelines based on community standards of care, while Wexford was responsible

for creating specific policies related to medical care in DPSCS facilities, without any need for DPSCS

approval. See Ex. 14 at 42-44, 46, 72-74, 77, 127-28, 142-43, 163-170; Ex. 20 at 32, 80; Ex. 19 at

8-9, 27-28.

        The contrary testimony cited by Wexford is just that—other testimony—that at best creates

a dispute of fact that a jury must resolve at trial. See Tolan, 572 U.S. at 660. For example, Wexford

cites to the provision of the contract that appears to require DPSCS approval of Wexford’s policies

and procedures prior to implementation. Def. Br. at 12. But there is no evidence in the record of

DPSCS ever being provided or approving UM-001 and UM-002 (or the policy manual in which they

were located) or the ER Visit Reduction Program. In fact, the contract appears to have permitted

Wexford to promulgate and modify policies without DPSCS approval because there was a policy

regarding emergency care already in existence. See generally Ex. 82; Ex. 138 at WEXDISC 332-34 (no

requirement for contractor to submit modified policies for approval or review); see also supra § I.B.

Finally, Wexford cites nothing indicating DPSCS even knew of its ER reduction policies, let alone

approved them.

        Ultimately, Wexford requests a blanket rule of immunity, irrespective of facts. Wexford is

asserting that its conduct is wholly immune from suit because it contracted with the State of

Maryland, which oversaw the contract. Wexford cites no authority for this remarkably expansive

proposition. For good reason: courts have held that for-profit corporations that contract with a state

to provide medical care have no immunity by virtue of the contract. See, e.g., Glisson v. Ind. Dep’t of

Corrs., 849 F.3d 372, 379-80 (7th Cir. 2017) (en banc); McDonald v. Dunning, 760 F. Supp. 1156, 1171

(E.D. Va. 1991) (rejecting attempt by one municipal corporation to blame another for a policy

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because it “ignores the [corporation’s] independent duty” to protect the constitutional rights of

individuals under its control).

        As discussed above, the factual record easily permits a jury to conclude that Wexford itself

maintained a policy to reduce ER trips across the board, and that the policy was neither one

promulgated by the DPSCS nor simply errant conduct by employees that could not fairly be

attributed to Wexford itself. This is precisely the sort of action that the Supreme Court and the

Fourth Circuit have recognized give rise to a suit against the municipal corporation. Monell, 536 U.S.

at 669 (municipal corporations are amenable to suit under § 1983 for their own conduct); Owens, 767

F.3d at 402; Glisson, 849 F.3d at 379.

        Wexford argues that Hunter v. Town of Mocksville, 897 F.3d 538 (4th Cir. 2018), requires

immunity, but Hunter establishes the opposite proposition: that the evidentiary record matters. 897

F.3d at 555-58 (noting that a decision to the contrary would “insulate the [municipal corporation]

from liability in virtually every case—a result contrary to the principles underlying Section 1983”); see

also Washington v. Baltimore Police Dep’t, 457 F. Supp. 3d 520, 541 (D. Md. 2020) (noting that entities

may properly be deemed as joint final policymakers); Santos v. Frederick Cty. Bd. of Comm’rs, 346 F.

Supp. 3d 785, 795 (D. Md. 2018).

        Wexford’s policy to reduce ER visits across the board was clearly a policy, and not just a

decision that merely implemented DPSCS’s policies. The policy was created by Wexford without any

evidence of input or oversight from DPSCS, served Wexford’s goal of maximizing its profits, and

clearly reflected a formal understanding intended to establish a fixed plan of action for its employees

to follow under similar circumstances consistently over time. See Pembaur, 475 U.S. at 480-81; Semple,

195 F.3d at 712. An individual or entity has final policymaking authority when it has “authority to

set and implement general goals and programs of municipal government, as opposed to

discretionary authority in purely operational aspects of government.” Spell, 824 F.2d at 1386. The


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factual record permits a reasonable jury to conclude that Wexford had precisely that authority with

regard to the ER reduction policy.

IV.     Wexford Failed to Train or Supervise Its Medical Staff Despite Knowing that Such
        Training and Discipline Was Necessary to Protect Patient Health

        Failing to train or supervise individuals can similarly support liability under Monell if that

failure “manifest[s] deliberate indifference to the rights of citizens[.]” Canton, 489 U.S. at 388-89. An

entity is deliberately indifferent if it is actually aware that its employees are regularly violating

constitutional or statutory rights, and fails to implement a training program to put a stop to this

pattern. See, e.g., id. at 388-90; see also id. at 397 (O’Connor, J., concurring in part and dissenting in

part); Spell, 824 F.2d at 1390. And while a generalized policy of failing to train can establish Monell

liability, as Defendants assert, an entity can also be liable for failing to train based on a single event if

the need for training was obvious and employees were certain to encounter a situation in which they

would rely on that training. Brown v. Mitchell, 308 F. Supp. 2d 682, 704 (E.D. Va. 2004) (citing Canton,

489 U.S. at 390). To establish causation, the failure must also be “closely related to the ultimate

injury.” Canton, 489 U.S. at 390-91. Here, there is evidence from which a reasonable jury could

conclude that Wexford failed to train its providers to recognize neurological emergencies and send

those patients to the emergency room, both as a matter of practice and based on the obviousness of

the need for training. See id. at 390.

        Wexford was aware that going back to 2010, medical providers were failing to recognize

neurological symptoms and timely send patients to the ER. See supra §§ 1.D.2-5 (delays with sending

patients to the ER from cases like R.G., C.A., E.A., and S.P.; CQIs regarding nurses’ inability to

identify neurological symptoms; and additional CQIs and CAPs). But Wexford took no steps to

address these failures of care when it took over the contract. Ex. 140 at 55, 136, 338-39; Ex. 38 at

349-50; Ex. 141 at 56-57, 78, 300; Ex. 21 at 179; Ex. 20 at 266-68; Ex. 25 at 379-80, 382, 385, 508;



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Ex. 17 at 35, 39; Ex. 142 at 49, 129; Ex. 25 at 344-45; Ex. 28 at 228; Ex. 26 at 218-220; Ex. 38 at 84-

85.

        Within weeks of Wexford’s takeover, C.R. had died from a stroke at a Baltimore jail.

Wexford’s own CAP admitted that C.R. should have been immediately sent to the ER given his

stroke symptoms, and that his death resulted from a failure to timely send him to the ER. See supra

§ I.D.4. But even though Wexford was aware of these failures and Dr. Baucom voiced her

discontent with Wexford’s response to C.R.’s death, see supra § I.D.4, Wexford did not conduct any

training related to C.R.’s death, Ex. 19 at 34. Wexford was consciously aware of a problem with its

providers failing to recognize neurological symptoms and to timely send patients to the emergency

room, but did nothing about it, despite the obvious associated risks. See Spell, 824 F.2d at 1390;

Brown, 308 F. Supp. 2d at 705 (quoting Canton, 489 U.S. at 389).

        Four months later, Fatima Neal died at the BCDC for the same reasons—Wexford staff

failed to recognize her obvious stroke systems and refused to timely send her to the ER—and

Wexford declined to write a CAP, train, or discipline a single provider involved in her death. See Ex.

140 at 55; Ex. 142 at 49, 129; Ex. 25 at 344-45; Ex. 28 at 228; Ex. 140 at 136; Ex. 26 at 218-220; Ex.

38 at 84-85. Seven months after that, T.Lo died after being denied similar offsite care, despite

displaying obvious symptoms requiring emergency care. See supra § I.D.2, I.D.4; Ex. 33 at 321. As it

did with C.R., Wexford admitted to failures in documenting and communicating changes in T.Lo’s

condition, like deteriorating vital signs, weakness, and vomiting; and acknowledged that she should

have been sent to the ER earlier. Ex. 48 at 19; Ex. 10 at WEXDISC 22434. Wexford also

acknowledged that the problems with T.Lo’s care were “repeat issues.” Ex. 148 at WEXDISC

23861. Yet Wexford did not train or discipline anyone in relation to her death. Ex. 19 at 34.

        As for the relationship between the failure to train and Fatima Neal’s injury, Plaintiff has

presented evidence that the failure to recognize Ms. Neal’s neurological symptoms and timely send


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her to the ER caused her death. See supra § II.A, II.B. A reasonable jury could thus conclude that Ms.

Neal’s death was caused by Wexford’s unconstitutional failure to train its employees.

        Wexford asserts, without citation, that the four months between when it took over the

contract and when Ms. Neal died was not enough time for it to understand its providers’ current

levels of training and then implement new training. This argument is flawed for several reasons.

First, Wexford was well aware, through CAPs, CQIs, and death reviews, of the quality of care

Corizon was providing before July 2012 and, through cases like R.G., C.A., E.A., and S.P., of the

delays with sending patients to the ER; a jury could find it accordingly knew of the obvious need for

additional training. See supra § I.G. Indeed, a November 2012 CAP before Ms. Neal’s death

identified a clear need to train nursing staff on neurological issues. Id. Additionally, Wexford’s own

expert admitted that four months is more than enough time to implement necessary changes if the

company considers them a high enough priority. Ex. 16 at 104-05. Even though Wexford knew of

delays and denials of ER care to neurological patients and others experiencing medical emergencies

before Ms. Neal’s death, it simply did not make reform a priority. See supra §§ I.D.2, I.D.4, I.G. A

reasonable jury could conclude Wexford is thus liable.

 V.     Plaintiff’s Experts, Drs. Keller and Herrington, Have Disclosed Reliable Expert
        Opinions That Are Amply Supported by the Factual Record

        Unable to challenge Plaintiff’s ample evidentiary records, Wexford tries for a moonshot. It

asks this Court to entirely disregard the expert opinions from Drs. Keller and Herrington. But

Plaintiff’s experts have produced thorough reports detailing the voluminous materials they reviewed,

the relevance of those materials based on their experience and training in correctional healthcare,

and the opinions that they ultimately reached. Wexford’s arguments should be rejected.

        Expert opinion testimony is governed by Rule 702 of the Federal Rules of Evidence. Fed. R.

Evid. 702. Such testimony is admissible if the expert is qualified, and the testimony “both rests on a

reliable foundation and is relevant to the task at hand.” United States v. Landersman, 886 F.3d 393, 412

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(4th Cir. 2018); Daubert v. Merrell Dow Pharm., Inc., 509 U.S. 579, 597 (1993). Rule 702 was “intended

to liberalize the introduction of relevant expert evidence” and the Court accordingly “need not

determine that the expert testimony a litigant seeks to offer into evidence is irrefutable or certainly

correct.” Westberry v. Gislaved Gummi AB, 178 F.3d 257, 261 (4th Cir. 1999) (citing Cavallo v. Star

Enter., 100 F.3d 1150, 1158-59 (4th Cir. 1996)). Rule 702 instead provides a “gatekeeping role” for

the district court to ensure that the proffered testimony is sufficiently relevant and reliable so that it

is not more likely to mislead the jury than to enlighten it. Westberry, 178 F.3d at 261. But “[t]he trial

court’s role as a gatekeeper is not intended to serve as a replacement for the adversary system, and

consequently, the rejection of expert testimony is the exception rather than the rule.” In re Lipitor

(Atorvastatin Calcium) Mktg., Sales Practices & Production Liab. Litig. (No II) MDL 2502, 892 F.3d 624,

631 (4th Cir. 2018); see also Ruark v. BMW of N. Am., LLC, 2014 WL 351640, at *6 (D. Md. Jan. 30,

2014).

         Bearing these principles in mind, this Court and the Fourth Circuit have previously held that

although opinions that are wholly unsupported by the record may be excluded, “questions regarding

the factual underpinnings of the expert witness’s opinion affect the weight and credibility of the

witness’ assessment, not its admissibility.” Maryland Shall Issue, Inc. v. Hogan, 2021 WL 3172273, at *4

(D. Md. July 27, 2021) (cleaned up) (citing Bresler v. Wilmington Trust Co., 855 F.3d 178, 195 (4th Cir.

2017)). As the Federal Rules advisory committee noted, “[w]hen facts are in dispute, experts

sometimes reach different conclusions based on competing versions of the facts,” and district courts

should not “exclude an expert’s testimony on the ground that the court believes one version of the

facts and not the other.” Fed. R. Evid. 702, advisory committee’s note to 2000 amendment. Courts

in this District thus distinguish between expert opinions based on wholly fabricated or unsupported

facts—which are inadmissible under Rule 702—and expert opinions based on facts that are in

dispute but find support in the record—which are admissible. E.g., Vertellus Holdings LLC v. W.R.


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Grace & Co.-Conn., 2021 WL 3883597, at *10 (D. Md. Aug. 12, 2021); Brightview Grp., LP v. Teeters,

2021 WL 2627960, at *4 (D. Md. Feb. 8, 2021).

        Dr. Keller and Dr. Herrington offer opinions about the policies and practices of Wexford,

and the harm that those policies and practices posed to patients under Wexford’s care. Ex. 48 at 4-5,

22-23; Ex. 49 at 19-21. To reach his opinions, Dr. Keller reviewed 20 deposition transcripts of

Wexford and DPSCS employees; hundreds of pages of CQI reports, CAPs, and UM policies and

reports; scores of meeting minutes and reports; email correspondence between and amongst

Wexford and DPSCS employees; and numerous contract documents reflecting the various contracts

between Wexford and the State of Maryland and associated bidding documents, as well as extensive

documentation and expert reports regarding Ms. Neal’s treatment at the BCDC. Ex. 49 at 2-4. Dr.

Herrington reviewed nearly all the same documents that Dr. Keller reviewed, as well as records

relating to the treatment of a number of DPSCS detainees. Ex. 48 at 2-4.

        Wexford does not dispute that Drs. Keller and Herrington are qualified to offer the opinions

set forth in their report. Nor could it. Dr. Herrington’s more than two decades in correctional

healthcare include leadership positions within correctional healthcare systems in Ohio, Maine,

Vermont, and Washington. Ex. 48 at 29-31. Dr. Herrington has consistently provided direct patient

care to incarcerated individuals within the correctional setting. Id. Dr. Keller has also worked

extensively in correctional healthcare, including serving as Chief Medical Officer for a medical

contractor that, like Wexford, contracted with departments of corrections to provide healthcare. Ex.

49 at 22. Dr. Keller has been responsible for both the policies and practices of a corporation like

Wexford, and has provided direct patient care in the carceral setting. In short, both Drs. Keller and

Herrington are eminently qualified to opine on Wexford’s policies and practices. Id. at 22-24.

        Wexford also does not dispute the relevance of Dr. Keller’s and Dr. Herrington’s opinions.

Instead, Wexford contends that each expert’s opinion testimony is inadmissible because it lacks a


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sufficient factual basis and is therefore unreliable. But upon closer examination, Wexford’s dispute is

not at all about whether Drs. Keller’s and Herrington’s opinions find support in the evidentiary

record. Instead, it is about whether other evidence in the record, with the added benefit of inferences

made in Wexford’s favor, would support a contrary opinion—espoused by the experts retained by

Wexford—that Wexford’s conduct is exemplary and beyond reproach. In other words, Wexford’s

dispute is not with the methodology or reliability of the opinions of Drs. Keller and Herrington, but

is instead a claim that on contested facts, the Court should side with Wexford. This is not only

inappropriate at summary judgment, the Fourth Circuit has held that such challenges to “the factual

underpinnings of the [expert witness’] opinion[s]” are not a basis to bar expert opinions. Bresler, 855

F.3d at 195. Wexford’s Daubert challenge should accordingly be rejected.

        A.      Wexford’s Attacks on Dr. Keller’s Expert Report Are No Basis to Exclude His
                Opinions

        Wexford complains about Dr. Keller’s finding in his report that patient deaths increased by

28% statewide and 40% regionally in the two years after Wexford took over direct patient care in

DPSCS facilities, as compared to the two years before Wexford took over direct patient care. Def.

Br. at 20; Ex. 49 at 15-16. Wexford does not dispute that calculation or attack the data upon which it

is based. Instead, it contends that Dr. Keller should have used different data so that the trends would

not be so inculpatory. Wexford argues, without explanation or citation to any authority, that Rule

702’s reliability requirement mandated Dr. Keller to use the years Wexford prefers. But this Court

previously held, at Wexford’s urging, that 2010-2014 (the timeframe used by Dr. Keller) was the

“relevant time period for discovery.” Dkt. 480 at 2; see also Dkt. 500. Having obtained a benefit from

arguing that 2010-2014 was the relevant timeframe, estoppel precludes Wexford from now

advancing a directly contrary position to gain a different advantage. New Hampshire v. Maine, 532 U.S.

742, 749 (2001). Even if estoppel did not apply, Wexford’s quibbles with the various statistics and

their impact on Dr. Keller’s opinions would at best be a matter for cross-examination. See, e.g., Burns

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v. Anderson, 123 F. App’x 543, 549 (4th Cir. 2004); Glass v. Anne Arundel City., 38 F. Supp. 3d 705,

716 (D. Md. 2014) (party’s objection about the expert’s “failure to take other data into account” goes

to the “weight of the report, not its admissibility, and may be challenged on cross-examination”).

        Wexford also argues that Dr. Keller’s opinions are unreliable because they do not credit

Wexford’s contention that it “sought to raise the quality of the in-house care” and “that cost was not

a consideration” for Wexford or its employees. Def. Br. at 21-22. But those contentions are at the

heart of the parties’ dispute. Wexford is effectively asking this Court to rule that Dr. Keller’s

opinions are unreliable merely because they contradict Wexford’s position in the litigation—a

request that the Fourth Circuit has repeatedly held is off limits in the context of both summary

judgment and a Daubert inquiry. Bresler, 855 F.3d at 195 (when conducting Daubert inquiry, “courts

may not evaluate the expert witness’[s] conclusion itself, but only the opinion’s underlying

methodology”); Jacobs, 780 F.3d at 568-69.

        Moreover, Dr. Keller did consider and address the contentions asserted by Wexford in its

motion. In his report, Dr. Keller thoroughly discussed how a private healthcare company properly

balances appropriate cost-saving initiatives with critical quality control metrics. Ex. 49 at 4-8. Dr.

Keller further discussed the proper scope of a legitimate initiative to reduce ER referrals. Id. at 5-6.

Dr. Keller simply concluded the wealth of evidence in the record revealed that Wexford was not

applying cost-saving initiatives with appropriate safeguards, or properly limiting the scope of its ER

reduction efforts. Id. at 8-21. Wexford is entitled to disagree with those conclusions, but the proper

arbiter of that disagreement is a jury—not this Court at summary judgment. McCoy v. Biomet

Orthopedics, LLC, 2021 WL 252556, at *11 (D. Md. Jan. 25, 2021).

        Wexford’s remaining quibbles with Dr. Keller’s opinions similarly fall well short of any basis

to exclude them under Rule 702. For example, Dr. Keller opines that when Wexford took over

direct patient care, it subordinated CQI to UM, and that as a result CQI began to focus on cost-


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cutting initiatives like reducing ER trips. Ex. 49 at 7. Wexford claims this is wholly unsupported by

the record, but it is just wrong: the emails and documents cited by Dr. Keller clearly support the

statements contained in his report. For example, one of the documents cited by Dr. Keller, an email

sent from Donna James to UM Directors Drs. Smith and Getachew, communicates that one of the

actions Ms. James was taking in her role as CQI director was to conduct regional studies about ER

referrals for individuals with cardiac issues “based on UM data,” Ex. 143, which Ms. James testified

expressly was one of the ways “in which [she was] being essentially asked to incorporate UM’s work

into your CQI work” and that Wexford was “merging CQI and UM together[.]” Ex. 21 at 165-66; see

also id. at 163-64. The documents cited in Dr. Keller’s report further establish that one of the

prominent CQI “action plans” was in fact a UM initiative to reduce ER referrals, thereby reducing

Wexford’s out-of-pocket expenses and increasing its profits under the contract. See supra § I.C.3; see

also, e.g., Ex. 145 at WEXDISC 25482; Ex. 6 at WEXDISC 25838.

        As Dr. Keller notes, Ms. James confirmed at her deposition that discussions in CQI

documents about ER runs came from the UM department and “there was a lot of discussions

having to do with ER runs.” Ex. 21 at 150-52. And Dr. Keller explained in detail that UM is

inherently a cost-cutting focused function, Ex. 49 at 5—an opinion that is hardly controversial. See,

e.g., Ex. 21 at 32-33, 150-151; Ex. 31 at 13; Ex. 30 at 17-18; Ex. 36 at 71-72. Indeed, it is undisputed

that a reduction of ER referrals increased Wexford’s profits. Ex. 96 at 3. Dr. Keller’s opinions are

thus amply supported. See Vertellus Holdings LLC, 2021 WL 3883597, at *11.

        Finally, Wexford quibbles with Dr. Keller’s conclusion about the ER trend analysis included

in Wexford’s 2012 CQI report. Def. Br. at 19; Ex. 80 at WEXDISC 20930. To be clear, Dr. Keller

correctly notes that the referenced chart itself reflects a trendline that plummets from just over 10

ER referrals per 1,000 prisoners to just over 2 ER referrals per 1,000 prisoners—a reduction of

80%. Id. Wexford’s insistence that certain other data points within the set are more accurate is


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clearly a matter for cross-examination and not grounds for exclusion. See Westberry, 178 F.3d at 261.

Similarly, Wexford’s argument about the relevance of this data is meritless. Dr. Keller clearly

explained that the reduction was relevant because it should have immediately caused Wexford to

conduct an inquiry into whether the efforts to reduce ER referrals were endangering patients. Ex. 49

at 15. Wexford does not explain how this opinion is not relevant or is not reliable given the wealth

of data upon which it is based. See, e.g., Sprint Nextel Corp. v. Simple Cell, Inc., 2016 WL 524279, at *3

(D. Md. Feb. 10, 2016). Wexford’s attacks on Dr. Keller’s opinions should accordingly be rejected.17

        B.       Wexford’s Attacks on Dr. Herrington’s Expert Report Are No Basis to
                 Exclude His Opinions

        Wexford’s complaints about Dr. Herrington’s opinions fare no better. Wexford’s primary

argument for exclusion of Dr. Herrington’s opinions centers on his review and thorough analysis of

records reflecting treatment of two dozen other individuals incarcerated by the DPSCS. Wexford

first argues that the 19 other examples of inadequate care identified by Dr. Herrington in his report

cannot establish a pattern or practice for purposes of Monell. As discussed above, however, that

argument is incorrect as a legal matter. See supra Arg. §§ I.A, I.D. It is also incorrect as it applies to

the reliability and admissibility of Dr. Herrington’s report.




         17 In an “appendix” attached to its motion for summary judgment, Wexford also contends that Dr.

Keller misrepresented the record when he stated that “[d]uring [monthly budget meetings], Wexford
leadership discussed how Wexford’s actual costs compared with its budget and expected profit margin, and
what could be done to increase profitability.” Dkt. 537-4 at 1-2; Ex. 49 at 12. But a review of the deposition
testimony cited by Dr. Keller—a task that neither of Wexford’s experts bothered to undertake—
demonstrates that the record amply supports the statement. Director of Operations McKee testified that
during these budget meetings, the conversations “are always the same” and included asking “is there anything
that we can do to increase our, our profitability?” Ex. 20 at 239. McKee further testified that the trending
margin of profit would be discussed, as well as expenditures, including “the amount of money spent on off-
site care” which was discussed “every month[.]” Id. at 242-43. Ms. Scott confirmed that the monthly budget
meetings involved discussion of the “budget versus actual expenses for sending people off site for care” and
would discuss how to reduce expenditures that Wexford could control, including reduction of the number of
ER visits. Ex. 35 at 110-12. Dr. Fisher likewise confirmed that Wexford’s actual off-site care expenses, and
the comparison to Wexford’s budgeted figures, were discussed in every meeting. Ex. 36 at 122-23.

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        As discussed above, Plaintiff received medical records for just 47 patients; Dr. Herrington

found significant lapses in care in 19 of those 24 cases (79.2%).18 See supra Arg. § II.D. As Dr. Keller

explained in his rebuttal report, the reference to gross totals of infirmary admissions, special

referrals, and ER referrals is meaningless because Plaintiff did not have access to information about

the quality of care provided to those individuals and Wexford took no effort to obtain any such

information, even while it had possession of all such information. Ex. 53 at 3 (noting that applying

even the most conservative 10% lapse rate would yield potentially thousands of cases with

meaningful lapses in care); Hodge, 360 F.3d at 450.

        Wexford cannot claim that the 24 sets of records that Dr. Herrington reviewed were

insufficient or unreliable, because Dr. Fowlkes, Wexford’s expert responding to Dr. Herrington,

admitted that the 24 cases both he and Dr. Herrington reviewed “was an adequate sampling.” Ex. 33

at 214. Dr. Fowlkes further admitted to employing the same methodology as Dr. Herrington. Ex. 33

at 185-86. The two men differed only in their conclusion: Dr. Fowlkes opined that these 24 cases

did not reflect any pattern or practice on the part of Wexford, while Dr. Herrington opined that

these 24 cases, in conjunction with the wealth of other evidence he reviewed, reflected a widespread

practice of delaying emergency care, maintaining woefully inadequate documentation, and generally

putting patients’ lives at risk. Compare Ex. 48 at 18, 23-27, with Ex. 52 at 49. These dueling

conclusions must be resolved by a jury. Ruark, 2014 WL 351640, at *6.

        Wexford next argues that the 19 cases Dr. Herrington identified are distinguishable from Ms.

Neal’s case. In support of its argument, Wexford identified every possible factual difference between

Ms. Neal’s case and the cases identified by Dr. Herrington. Def. Br. at 23-26. As Plaintiff has

addressed above, these differences are insufficient as a legal matter to entitle Wexford to summary

judgment. See supra Arg. §§ I.A, I.D. Because a reasonable jury could conclude that these 19 cases,

        18 As noted above, this access came exclusively from the DPSCS directly, as Wexford had
relinquished its possession of all records.

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especially when considered in conjunction with the wealth of other evidence Plaintiff adduced,

reflect a practice by Wexford to delay and deny necessary ER trips, summary judgment must be

denied. Wexford’s Rule 702 challenge similarly fails.

        Notably, Wexford offers absolutely no explanation for why the purported factual differences

render Dr. Herrington’s opinions unreliable. Almost all of the 19 cases contain the critical similarity

to Ms. Neal’s: they involve cases in which Wexford’s doctors and nurses delayed far too long in

sending a patient from the infirmary to the ER; and of those, 8 of them specifically involve the

failure to send out patients experiencing symptoms of obvious, and serious, neurological conditions.

See supra § I.D.2. At best, the factual differences that Wexford identifies are matters for cross

examination. They certainly do not undermine the reliability of Dr. Herrington’s opinions,

particularly given Dr. Herrington’s thorough discussion of each case, and Wexford does not

meaningfully contend otherwise. Wexford’s own expert employed the same methodology, albeit

reaching a different conclusion than Dr. Herrington, as is routine in federal litigation. The doctors’

methodology has been recognized as reliable by district courts throughout the country in policy and

practice cases like this one. See, e.g., Awalt, 74 F. Supp. 3d at 926-27; Hunter v. Cty. of Sacramento, 652

F.3d 1225, 1234-35 (9th Cir. 2011); cf. Bresler, 855 F.3d at 195. Dr. Herrington’s analysis of the 19

cases involving substantial lapses in care, and the conclusion that he reaches regarding Wexford’s

patterns and practices as a result, are reliable and therefore admissible.

        Wexford challenges Dr. Herrington’s opinion regarding Wexford’s policy of requiring prior

approval for an ER referral. Def. Br. at 26. Dr. Herrington notes that multiple Wexford employees

testified that “they understood [Wexford’s] policy to require them to get approval before sending

patients out to 911.” Ex. 48 at 25. Ignoring the express policy saying exactly that, see supra § I.B,

Wexford argues that this statement is not supported by the record, and that there is also evidence

that supports Wexford’s contrary contention that no such policy existed. Again, Wexford is just


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wrong that Dr. Herrington’s statement lacks support in the factual record. See supra § I.B; see, e.g., Ex.

23 at 133 (Wexford nurse admitting that “when there’s a need to send someone outside” she “would

have to have the approval of either a doctor or a physician’s assistant”).19 Wexford’s argument is a

perfect example of the factual disputes that are clearly present, revealing why this summary

judgment motion should have never been brought.

        Ultimately, Wexford has offered no plausible argument for why its claims about the weight

of the evidentiary record would render Dr. Herrington’s entire report unreliable and inadmissible.

To the contrary, this Court has repeatedly held that Wexford’s arguments are a matter for cross-

examination and not exclusion. See, e.g., Burns, 123 F. App’x at 549; Vertellus Holdings LLC, 2021 WL

38853597, at *10; Glass, 38 F. Supp. 3d at 716; see also Fed. R. Evid. 702, advisory committee’s note

to 2000 amendment. The Court should reject Wexford’s request to exclude Dr. Herrington because

he did not center disputed evidence that supported Wexford’s version of the facts.20

                                              CONCLUSION

        For all of the reasons above, Wexford’s motion for summary judgment should be denied.


         19 Wexford claims that these statements from its staff and administrators should be interpreted

merely as claims that physician notification was required, not authorization. Def. Br. at 26. Of course, this is
simply a request that this Court take an inference in Wexford’s favor that is not permissible at summary
judgment. And, in any event, it is not supported by the record. Former defendant McNulty was asked, “Were
registered nurses working at the BCDC allowed to send a patient to the hospital without any approval?” Her
answer was, “No, we were not allowed to send inmates out on our own.” Ex. 23 at 131-33; id. at 226; see also
Ex. 21 at 72-73 (“Q So was the expectation that they were to contact the doctor for approval? A That is true.
Q Okay. And was it typically the case that nurses would get a doctor’s approval before they sent somebody
outside? A Yes. Generally.”).
        20 In another “appendix,” Wexford contends that Dr. Herrington misrepresented the record when he
stated that there was “evidence that the trainings Wexford committed to doing in response to those deaths,
CQIs, and CAPs never happened, as testimony from several Wexford witnesses suggests they did not receive
such trainings.” Ex. 48 at 23; Dkt. 537-5 at 1-2. Although some of the pincites that appear directly after the
cited sentence appear to be incorrect (referring instead to Wexford’s ER referral authorization policy), Dr.
Herrington’s statement finds ample support in the materials he reviewed. Ex. 22 at 43:5-16; Ex. 18 at 8-11;
Ex. 19 at 34; Ex. 23 at 456:11-14; see also Ex. 21 at 194-95 (testimony from Donna James that her ability to
identifying needed training diminished as Wexford prioritized UM over quality metrics). Although the
typographical mistake is regrettable—perhaps Dr. Herrington should have instead provided no citations to
any record evidence to support his opinions, like Wexford’s experts did—it is no basis to exclude Dr.
Herrington’s opinions.

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                             RESPECTFULLY SUBMITTED,


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                                  CERTIFICATE OF SERVICE

        I, Sarah Grady, an attorney, certify that on November 24, 2021, I caused the foregoing

Response to Defendant’s Motion for Summary Judgment to be filed via the Court’s CM/ECF

electronic filing system, which effected service on all counsel of record.



                                                /s/ Sarah Grady
                                                Attorney for Plaintiff




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